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A. Evidence demonstrating Commissioner Ratekin's lack
of jurisdiction following an improperly denied peremptory
challenge.
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               IN THE SUPRE ME COURT OF THE STATE OF CALIFORNIA



TH E PEOPLE OF TH E STATE OF CALIFORNIA,                  )
                                                          ) Appellate:D079955
               Plaintiff and Respondent,                  )
                                                          ) (Superior Court
               v.                                         ) No. l 9FL0 I 0852N
                                                          )
Robert Emert                                              )

                                                           )
               Defendant and Appellant.                    )
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                                     PETITION FOR REVIEW                                       u
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                              Fourth Appellate District, Division 1                             ;:::l
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                      Court ofAppeal Case number: D079955 in the marriage
                                of Rob Emert and Andrea Schuck                                 --<
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  Robert Emert 235 1 Vist a Lago Terrace, Escondido, CA 92029 760-6 12-9328 robemert@msn.com     u
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                                       Self Represented
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                IN THE SUPREME COURT OF THE STATE OF CALIFORNIA




THE PEOPLE OF THE STATE OF CALIFORNIA ,                       )
                                                              ) Appellate:D079955
                Plaintiff and Respondent,                     )
                                                              ) Superior Court
                v.                                            ) No. 19FL0I0852N
                                                              )
Robert Emert                                                  )

                                                          )
               Defendant and Appellant.                   )

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                                     PETITION FOR REVIEW                                             E
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                  TO THE HONORABLE TANI CANTIL-SAKAUYE, CHIEF JUSTICE,                              ~
                     AND TO THE HONORABLE ASSOCIATE JUSTICES OF THE
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                       SUPREME COURT OF THE STATE OF CALIFORNIA:                                    ....c:
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                 Pursuant to Rule 8.500, California Rules of Court, Rob Emert defendant              >
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 and appellant, hereby petitions this Court to grant review of the decision o f the Court of          e
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 Appeal for the 4th Appellate District, Division I, filed on 02/14/24, which affirmed his             (I)

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 denial of a rehearing request dated 0 1/30/24 and and attached appendix G. A copy of the             0
                                                                                                    Q
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                                                                                                                                           ..D
D. Retired Commissioner Patti Ratekin with no notice to me switches duties from a                                                          "O
                                                                                                                                            (!)

"commissioner" to a "temporary judge" and was already working outside of                                                                    >
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jurisdiction due to the properly filed peremptory challenge filed 02/08/21 . This "temp                                                     (!)
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judge" notice was slipped in on 02/25/21 ... ........................ ....... ...... ...... ... ...... ........ .... 42
                                                                                                                                            c
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E. Email to Ms. Ratekin's clerk that I was indeed in the ER recovering from a widow                                                         E
                                                                                                                                            ;::::s
maker heart attack caused by her and her cronies terrorizing me and my children after                                                        <.)
                                                                                                                                            0
two years of a 50/50 scenario by two judges 3 FCS reports and 2 FCS child interviews.                                                      Q
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I Rob Emert, declare,




Rob Emert affidavit to the honorable court regarding
page number and word count according to the                                                         t:::s
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The page count is 25 pages taking out exhibits and other items not included in the page              s
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count. The word count certification is found in the word count section, but it is well below         0..
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the maximum word count of 8400. For sim plicity and for ease of review for your honors, I
did my best to bookmark one document well. In addition, I am filing an application for a            u--<
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Application for Permission to File an Oversized Petition for Review. The exhibits that are
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included in this have simply been ignored by the lower court and is the main reason I would
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like them included in this petition for review. Me and my children have been truly terrorized by
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a few withing the San Diego divorce industry and I would appreciate this court providing justice
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for me and my children and to send a message that what you see in my petition will not be            -+-'
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tolerated. I am not an attorney and have simply done my best. If I have made an error,               s:::s
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please give me the opportun ity to remedy it. Thank you.                                             0
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I. Introduction


This case involves an appeal to vacate and void orders from the trial court where the
judicial officer simply lacked jurisdiction for many reasons including a properly filed
peremptory challenge.

For two years, custody had been evenly split 50/50 under two judges, based on three family
court services reports and two child interviews. (exhibit M)

In February 2021, Commissioner Ratekin took over the case. Despite two years of 50/50
custody, she:

   •    Immediately stated intent to remove my 14-year-old son into residential care
        without evidence. ( exhibit Q)

   •    Denied my properly filed CCP §170.6 peremptory challenge. ( exhibit NN)

   •    Acted as an unauthorized temporary judge barred by California Rules of Court, rule
        2.818(c)(3) (appendix D)

   •    Terminated my parental rights without proof of unfitness, violating due process
        (03/30/21 min order)

   •    Ignored my child's affidavits, witness statements, and pleas to the cou rt (exhibit A)

    •   Exhibited clear bias and prevented questioning of witnesses (exhibit Q)

    •   Recused herself but continued issuing orders without jurisdiction. (exhibit LLL and
        appendix F)

Ratekin also ignored:

    •   My therapist letter indicating I was mentally fit. ( exhibit N)

    •   Police report showing domestic violence by my ex-wife. (exhibit S)

    •   Ongoing conflict of interest from her supervisor's wife's relationship with my ex-
        wife. ( Andrea paystub and school employee print out)
                                                                                            39




This misconduct culminated in a major heart attack brought on by extreme stress. (exhibit
B) On the very day she finally recused, Ratekin maliciously imposed supervised visitation
based solely on an unrelated witness affidavit as retaliation, absent any evidence of
unfitness.

Through these violations, Rate kin separated me from my child absent due process. I have
diligently appealed the unlawful rulings resulting from conflicts of interest, falsified
records, and denial of impartial proceedings. However, relief has focused on procedural
issues versus the merits.

I now petition the California Supreme Court seeking review of the merits. Rate kin's
shocking ethical breaches and constitutional violations have wrongfully deprived me of
custody rights without due process. I pray the merits may be properly evaluated so that I
can defend my sacred parental rights before an impartial tribunal.




II. Issues Presented for Review/ Statement of Issues


    1. Whether the trial court violated Local Rule 2.1.18 by allowing Commissioner
       Ratekin to act after petitioner's timely peremptory challenge under CCP §170.6?
    2. Whether Commissioner Rate kin's oversight as an unauthorized temporary judge
        barred by California Rules of Court, rule 2.81 B(c)(3) renders her orders void?
    3. Whether improper denial of petitioner's properly filed CCP §170.6 peremptory

        challenge violated due process rights to an impartial judicial officer?
    4. Whether the trial court violated CCP §170.1 and due process by allowing a recused
        judge (whose wife was friends/coworkers with petitioner's ex-wife) to supervise

        the commissioner in the same case?
    5. Whether severe restrictions on parental rights absent proof of unfitness violated

        substantive due process under the 14th Amendment?
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   6. Whether Commissioner Rate kin acted without jurisdiction and in violation of due
      process by issuing substantive orders after recusing herself?
   7. Whether the trial court violated due process by prejudging the case and exhibiting
      actual bias, contrary to the constitutional right to a fair and impartial tribunal?
   8. Whether the cumulative effect of the trial court's pervasive legal errors constituted
      structural defect requiring reversal rather than harmless error review?
   9. Whether the trial court violated due process by prejudging the case and exhibiting
      actual bias, contrary to the constitutional right to a fair and impartial tribunal?
   1o. Whether the trial court's egregious legal errors resulted in irreparable harm by
      wrongfully depriving petitioner of custody rights absent due process, necessitating
      extraordinary relief?
   11. Whether the appellate court erred in ignoring obvious legal violations and
      petitioner's request for an evidentiary hearing, instead improperly dismissing claims
      based on mundane record citation issues contrary to the interests of justice?




Ill. Statement of the Case

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This case involves an appeal of family court rulings by Commissioner Patti Ratekin               "O
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stemming from my divorce proceedings initiated in Sept 2019 after over 14 years of               ·->
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marriage. For almost two full years from 2019-2021, child custody had been evenly split           <l)
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50/50 between my ex-wife and I under orders by two prior judges.                                  C
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This joint physical custody arrangement was based on recommendations from a custody               :::s
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evaluation and two in-depth interviews conducted by family court services. The court             a
services advisor made clear in multiple reports that supported a 50/50 custody arangment
and I was initially given 60%. My 14-year-old son Bryce and I shared an especially tight
bond after I raised him as a stay-at-home dad for years. The 50/50 arrangement was
                                                                                             32




working for our family with a few exceptions, so I suggested letting both our children be
able to go back and forth between our homes on an as needed basis for their emotional
well-being. My x wife allowed this for our daughter but refused for our son out of pure
resentment of his close bond to me. This pure and ugly resentment is what has caused 4
years of torment and heartache for our entire family.

In February 2021, Commissioner Ratekin inexplicably took over the case from the two prior
judges who had issued the 50/50 orders.

While I was representing myself, a legal advisor told me that since orders were not made or
arguments heard that I could file a peremptory challenge under CCP §170.6 to remove
Commissioner Ratekin and I did file it on Feb 8 2021. However, she brazenly denied the
challenge against the rules of court given the circumstances of my case. No orders were
made; arguments heard and my request was timely. The "verbal" stipulation was/is
irrelevant given the circumstances and per the rule of law and case law.                          t;:I
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Over the next eight months, Commissioner Rate kin committed a litany of misconduct
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exhibiting clear bias against me:                                                                 ;:::I
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    1. She acted without authority as a temporary judge barred by California Rules of             -5
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       Court, rule 2.818(c)(3). (appendix D)
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                                                                                                   Q)
    2. She imposed severe restrictions on my parental rights absent any showing of                 >
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                                                                                                   Q)
                                                                                                   (.)
       unfitness, preventing me from even speaking with my child. (appendix F)                     Q)
                                                                                                   ;....
    3. She ignored multiple affidavits from Bryce begging to see me. ( exhibit A)                 1::
                                                                                                   Q)

    4. She disregarded a therapist letter indicating I was basically a regular guy with no         s;:::I
                                                                                                   (.)
       mental health issues after Ratekin started to illegally harass me about                     0
                                                                                                  Q
       "psychological evaluations" when I challenged her ethics. (exhibit N)
    5. Ratekin exhibited prejudgment without hearing my testimony. Exhibit Q)
                                                                                             33




   6. She obstructed my ability to question witnesses and present evidence contradicting
       her predetermined narrative. (exhibit Q)
   7. She had an inherent conflict of interest as her supervisor judge's wife was close
       friends with my ex-wife. A look at my x wife's pay stub from the school district along
       with the other judge's wife' s profile on the school's website easily proves th is.




Ratekin also ignored:




   1. My therapist letter indicating I was mentally fit
   2. Police report showing domestic violence by my ex-wife. (exhibit S)
   3. Ongoing conflict of interest from her supervisor's wife's relationship with my ex-
       wife .
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This overwhelming stress led to me suffering a major heart attack requiring hospitalization        8
                                                                                                   (l.)
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in September 2021. (exhibit B) Nevertheless, Commissioner Ratekin continued her                    0..
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                                                                                                  VJ
vendetta. On the very day she recused herself from the case on October 4, 2021, she
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immediately imposed a new order for supervised visitation as retaliation for a                     (l.)
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whistle blowing witness affidavit I had filed exposing her misconduct. This order separated
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me from Bryce without any evidence or change in circumstances. (appendix F)
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Commissioner Ratekin then continued signing substantive orders even after recusing                .2:
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herself, clearly acting without jurisdiction. (exhibit LLL) Her profound ethical breaches and      ~
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vengeful conduct absent due process have caused unspeakable trauma for me and my                   :::
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children .
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I have diligently appealed for over a year seeking to vacate Commissioner Ratekin's               0
patently unlawful rulings. But the appellate court denied relief based on minor technical
record issues without adequately weighing the merits of my claims.
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I now petition the California Supreme Court as a last resort, pleading for proper review of
the merits of this unprecedented judicial misconduct ripping my family apart. Ratekin's
actions have resulted in a manifest injustice demanding intervention. I pray the Supreme
Court will recognize the gravity of the violations presented and order redress of these
extraordinary harms.

Here is a brief timeline to help put into perspective:

February 4, 2021 - October 4, 2021: Throughout her oversight of the case, Commissioner
Ratekin ignores and fails to properly consider:




   •    My son Bryce's (14 years old) police report and request for restraining order against
        Ratekin's appointed minor counsel. (Exhibit Kand L)


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   •    Bryce's affidavit and witness affidavits contradicting Ratekin's predetermined
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        narrative. (exhibit A)                                                                      s
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    •   My therapist letter indicating I'm mentally fit. (exhibit N)                               u--<
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    •   Police report showing domestic violence by my ex-wife. (exhibit S)                          (1)

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    •   Ongoing conflict of interest from Ratekin's supervisor's wife's relationship with my        (1)


        ex-wife.                                                                                    §
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    •   Bryce begging the court repeatedly to be heard. (exhibit A)
                                                                                           311




February 4, 2021: Commissioner Ratekin assigned to case ( exhibit Q)




February 8, 2021: I file timely peremptory challenge under CCP §170.6. (appendix B)




February 25, 2021: Rate kin claims acting as unauthorized temporary judge. (appendix D)




March 30, 2021: Ratekin removes my parental rights without evidence. (03/30/21 min
order)




May 11, 2021: Ratekin prevents witness questioning contradicting her intent. (exhibit Q)
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September 29, 2021: I suffer major heart attack ( exhibit B)
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September 30, 2021: Ratekin imposes supervised visitation as retaliation. (appendix F)           <
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October 4, 2021: Ratekin finally rec uses from case after months of misconduct. (exhibit         .D
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October 5 & 15, 2021: Rate kin signs orders post-recusal without jurisdiction. (exhibit LLL)
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IV. Legal Argument
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   1. This court should grant review to settle the important question of whether the

       trial court violated Local Rule 2.1.18 by allowing Commissioner Rate kin to act
       after petitioner's timely peremptory challenge under CCP §170.6.

On February 4, 2021 the parties stipulated verbally for Commissioner Rate kin to hear the

case. However, no orders were made or arguments heard that day. On February 8, 2021 ,
within 1O days of the initial hearing, Petitioner filed a timely peremptory challenge under
CCP §170.6 to remove Commissioner Rate kin (Exhibit B).

Under Local Rule 2.1.18 and unambiguous precedent, because no orders or rulings had
been made, Commissioner Rate kin was required to be immediately disqualified once the
challenge was filed. As the California Supreme Court stated in Stephens v. Superior Court,
30 Cal. 4th 1082, 1092 (2002), "the disqualification is automatic and the reassignment
mandatory."

However, Commissioner Ratekin defied this compulsory authority by improperly denying
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the challenge and continuing to oversee the case through October 4, 2021. Her oversight in         u
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the face of a valid §170.6 challenge egregiously violated Local Rule 2.1.18.                        E
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Given the extraordinary departure from Local Rules and due process, review is imperative            ;::::l
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to enforce proper application of Local Rule 2.1.18 and CCP §170.6. This Court should thus          <r:
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grant review and provide relief vacating Commissioner Rate kin's orders to vindicate                (])
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petitioner's rights.                                                                                 >-.
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    2. This court should grant review to determine whether Commissioner Rate kin's                   (])


       oversight as an unauthorized temporary judge barred by California Rules of
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       Court, rule 2.818(c)(3) renders her orders void.                                              E
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Commissioner Ratekin appears to believe she is exempt from petitioner's peremptory                 0
challenge because she was acting as a temporary judge. However, she was acting as a
commissioner at that time and moreover, acting as a temporary judge starting
02/25/21 clearly violates California Rules of Court, rule 2.818(c)(3), which unambiguously
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states "a temporary judge is subject to a peremptory challenge under Code of Civil
Procedure section 170.6." And, even more so, if one of the parties is self represented and
the other party is represented, proceedings can't be heard by a temporary judge.

As made unequivocally clear by this Court in In re Mark L. (1983), orders made by a judicial
officer lacking legal authority to hear a case are void. Here, Commissioner Rate kin di rectly
contravened the Rules of Court barring temporary judges from overseeing challenges
cases . Her oversight absent proper jurisdiction was structural error requiring reversal.

This Court reiterated this principle in Fewel v. Fewel (1943), stating "when a court has no
jurisdiction, it has no power to act" and resulting orders are void. Commissioner Ratekin 's
defiance of the Rules of Court deprived her of authority to act, rendering her custody
orders void .

Given Commissioner Ratekin's flagrant assumption of judicial authority prohibited by
California Rules of Court, extraordinary review is warranted . As held in People v. Tijerina

(1969), courts have a solemn duty to invalidate orders made in excess of a judicial officer's
jurisdiction. This Court should grant review, vacate her orders as void, and remand for new
proceedings before a authorized judicial officer.




    3. This court should grant review to decide whether improper denial of petitioner's
       properly filed CCP §170.6 peremptory challenge violated due process rights to

       an impartial judicial officer.

The Due Process Clauses of the Fifth and Fourteenth Amendments guarantee a fair and
impartial judiciary. Denying a properly filed peremptory challenge strikes at the heart of
due process by allowing a challenged judicial officer to continue overseeing a case.

As this Court affirmed in Catchpole v. Brannon (1995), peremptory challenges under CCP
§170.6 provide "a reasonable means of assuring the appearance of judicial impartiality."
By refusing petitioner's challenge, Commissioner Ratekin critically undermined this crucial
due process protection.
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Additionally, in Johnson v. Superior Court (1958), this Court held the right to disqualify a
judge is "substantial" and "mandatory." Commissioner Ratekin's baseless denial of the
challenge upended these fundamental due process rights .

Her continued oversight absent impartiality casts doubt on the legitimacy of all
subsequent rulings. As noted in Solberg v. Superior Court (1977), §170.6 preserves public
trust by avoiding the appearance of prejudice. Denying petitioner an impartial forum devoid
of perceived bias violated due process.

Given the extraordinary breach of petitioner's substantial due process rights, review is
essential to reinforce protections against judicial bias. This Court should grant relief,
recognizing denial of the §170.6 challenge as structural error requiring reversal to vindicate
due process and restore public confidence.




   4. This court should grant review to resolve whether the trial court violated CCP
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       §170.1 and due process by allowing a recused judge (whose wife was                             <I)

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       friends/coworkers with petitioner's ex-wife) to supervise the commissioner in                  <I)
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       the same case.
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CCP §170.1 (a)(6)(A) requires disqualification when a judge's spouse has a relationship               -+-'
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likely to bias the judge. Here, the supervising judge's wife worked closely with and was
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friends with petitioner's ex-wife. This created inherent bias necessitating recusal under            ..>. .
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§170.1.                                                                                               u
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However, the judge only rec used himself from making final orders, while still indirectly

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overseeing the case by supervising Commissioner Ratekin. This violates due process, as
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her decisions remained tainted by the conflict of interest infecting her supervisor.                 a
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As held in Catchpole v. Brannon (1995), §170.1 protects the constitutional right to an
impartial judge. The supervisingjudge's continued oversight in the face of acknowledged
bias violated this basic due process guarantee.

Moreover, in Hall v. Superior Court (1988), this Court found "evaluating the fairness of a
judge" who appears biased compromises public trust in the courts. Allowing continued
supervision by the conflicted judge, even indirectly, severely undermines confidence in
impartial proceedings.

To preserve due process and judicial integrity, review is desperately needed. The Court
should grant relief, recognizing the trial court's failure to fully recuse itself from the
conflicted case is reversible error requiring remand before an untainted tribunal.




   5. This court should grant review to establish whether severe restrictions on
       parental rights absent proof of unfitness violated substantive due process
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       under the 14th Amendment.                                                                    Cl)

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Parents have a fundamental liberty interest in the care, custody, and control of their              0..,
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children under the 14th Amendment. As held in Troxel v. Granville (2000), parental rights          rJJ

warrant stringent due process protections against state interference. Restrictions require
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compelling justification, usually parental unfitness.                                              ..c::
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Here, Commissioner Rate kin abruptly terminated petitioner's joint custody and imposed
draconian restrictions virtually eliminating any parental rights (Minute Order dated
3/30/21 ). This constitutes shocking infringement of substantive due process absent any
evidence of unfitness.

As this Court ruled in In re B.G. (1974), absent clear and convincing proof that parental
custody would be detrimental, such extreme measures violate due process.
Commissioner Ratekin disregarded this binding precedent and severed the deep parent-

child bond based on nothing more than speculative allegations.
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Given the extraordinary infringement of petitioner's constitutionally protected parental
rights, searching review is imperative to reinforce due process protections. This Court
should grant relief, recognizing the custody orders absent proof of unfitness as reversible
constitutional violations requiring immediate vacation and remand .




   6. This court should grant review to conclude whether Commissioner Ratekin
       acted without jurisdiction and in violation of due process by issuing substantive

       orders after recusing herself.

On September 29, 2021, petitioner suffered a major heart attack requiring hospitalization.
The next day, on September 30, 2021, while petitioner was still recovering in the hospital,
Commissioner Ratekin held a hearing where petitioner appeared remotely.

Then on October 4, 2021, Commissioner Ratekin entered a minute order recusing herself
from the case due to undisclosed reasons creating an "appearance of bias" (Minute Order
dated 10/4/21).

Shockingly, in that same recusal order, Commissioner Ratekin imposed new supervised
visitation restrictions, absent any evidence of unfitness. This immediately terminated her
jurisdiction over the case under CCP §170.4.

However, Commissioner Ratekin then improperly signed additional substantive orders on
October 5 and October 15, 2021, after she had recused herself (Minute Orders dated
10/5/21 and 10/15/21 ).

By issuing substantive orders even the day after rec using herself, Commissioner Rate kin

acted without jurisdiction and in violation of due process. This Court should grant review,
recognize the orders as void, vacate them to remedy the due process violations, and
remand for rehearing by an authorized judicial officer.
   7. This court should grant review to determine whether the trial court violated due

       process by prejudging the case and exhibiting actual bias, contrary to the
       constitutional right to a fair and impartial tribunal.

The Due Process Clause guarantees litigants an impartial judge. As this Court held in
Catchpole v. Brannon (1995), showing of actual bias violates this basic due process right.

Here, the record contains overt statements by Commissioner Rate kin evidencing
prejudgment and actual bias against petitioner (Exhibit Q- court transcripts). She made
substantive determinations on temporary custody and visitation restrictions before any
evidence was presented, stating many alarming statements ( exhibit FF - Rate kin transcript
highlights) and (exhibit Q - court transcripts)

Such prejudging strips petitioner of impartial proceedings and the presumption of
innocence. As found in In re Richard W. (1979), a biased judge inherently violates due
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process protections of fairness.                                                               :::s
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Commissioner Ratekin's explicit statements of bias have hopelessly tainted the                 (!)

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proceedings. As this Court ruled in Hall v. Superior Court (1988), apparent prejudging by a     (!)
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judge directed at a litigant compromises public trust in the courts. Her inability to remain    :::s
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objective warrants reversal.                                                                   ~
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Given the clear deprivation of petitioner's constitutional right to an impartial judicial      -5
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officer, extraordinary review is essential. This case should be remanded before an             .D
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untainted tribunal to remedy the due process violations arising from Commissioner               (!)


Ratekin's actual bias.
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    8. This court should grant review to decide whether the cumulative effect of the            :::s
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       trial court's pervasive legal errors constituted structural defect requiring            a
       reversal rather than harmless error review.
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While individual errors may be deemed harmless, their cumulative prejudicial impact can
deprive a litigant of a fair trial, warranting reversal. As this Court held in In re Marriage of
Carlsson (2008), due process violations from cumulative error represent structural defect
outside harmless error review.

Here, the trial court committed an array of legal errors, including violating Local Rules,
acting without jurisdiction, exhibiting bias, and infringing substantive due process rights .
The aggregate prejudice far exceeds any single error.

As found in Dodson v. J. Pacific, Inc. (2007), cumulative error undermines the integrity of
judicial proceedings. The sustained infringement of petitioner's rights permeated the entire
case, hopelessly obscuring any possibility of a just result.

Given the constitutional violations and affronts to public policy stemming from the trial
court's numerous errors, extraordinary review is imperative. The cumulative effect
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represents an incurable structural defect requiring reversal and remand for new, untainted
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proceedings.                                                                                             u
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This Court should grant review to reinforce that cumulative injustice from pervasive legal
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errors must be remedied, not dismissed through harmless error review. Only reversal can                   =
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vindicate due process in the face of such fundamental flaws in judicial proceedings.
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    9. This court should grant review to address whether the trial court's egregious
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        legal errors resulted in irreparable harm by wrongfully depriving petitioner of                  ..>. .
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        custody rights absent due process, necessitating extraordinary relief.                            (l)
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A key purpose of extraordinary writs is to address irreparable harm from lower courts                    c(l)

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acting in excess of jurisdiction and violating due process. As this Court established in                   =
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Omaha Indemnity Co. v. Superior Court (1989), extraordinary relief is warranted where an                 0
error cannot be remedied through ordinary appeal.
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Here, the trial court terminated petitioner's joint custody and imposed severe restrictions
on visitation absent any proof of unfitness or due process. The US Supreme Court has
repeatedly recognized the substantial and irrevocable harm caused by unwarranted state
interference in parental rights. As held in Troxel v. Granville (2000), parental rights warrant
the highest due process protections against government infringement. Similarly, in

Santoskyv. Kramer (1982), the Court found improperly severing the parent-child
relationship causes irremediable "grievous loss" to both parent and child.

These extraordinary circumstances, including unconstitutional infringement of petitioner's
fundamental parental rights, compel immediate review and relief before further irreparable
injury accrues. As this Court recognized in Rollins v. Superior Court (1963), extraordinary
writs exist to promptly halt irremediable miscarriages of justice.

Procedural protections are meaningless absent a remedy before more harm compounds.
Only extraordinary relief can address the severe and mounting injury from the trial court's        t:::s
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wrongful deprivation of petitioner's custody rights .                                              u
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    10. This court should grant review because the appellate court erred by ignoring                :::s
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       obvious legal violations and petitioner's request for an evidentiary hearing,               <l'.'.
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       instead improperly dismissing claims based on mundane record citation issues                 V
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       contrary to the interests of justice.                                                        >--.
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The role of appellate courts is to provide meaningful review, especially where legal errors         V
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threaten grave injustice. As this Court held in Smith v. Lewis (1975), dismissal on                  V
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technicalities undermines the judiciary's truth-seeking function.
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Here, when faced with "troubling" allegations of bias and constitutional violations, the             8
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appellate court failed to substantively review them, citing only purported inadequate                0
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record references. However, in his reply brief, petitioner requested leave to correct any
citation defects under the liberal amendment policy of Varjabedian v. City of Madera
(1977). This request was improperly ignored and then used as an excuse to not consider
black letter law violations. Reminds me of ignoring a smoking gun in a criminal's hands or
the elephant in the room when it goes against ones biased narrative.

Worse, the appellate court ignored flagrant legal errors like the trial court violating Local
Rules, acting without jurisdiction, exhibiting bias, and infringing due process rights absent
proof of parental unfitness.

Such indifference to serious constitutional claims clashes with appellate courts'
recognized duty of protective review. As found in In re Marriage of Carlsson (2008),
substantive justice should prevail over procedural technicalities.

By refusing to probe extraordinary claims or allow citation correction despite equities
favoring review, the appellate court abandoned its responsibility to guard against lower
court abuses. Its abdication merits summary reversal.

This Court should grant review, order an evidentiary hearing to expand the record, and
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provide meaningful review of petitioner's claims to halt the compounding miscarriage of          0
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justice stemming from the trial court's apparent bias and legal errors. The interests of         (1.)

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justice demand no less.                                                                          (1.)
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V. Prayer for Relief                                                                            ..c
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WHEREFORE, based on the extraordinary legal violations and harms presented, Petitioner          ..0
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respectfully prays this Honorable Court grant the following relief:
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    1. Issue a writ of mandate or other appropriate relief ordering the trial court to vacate
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        all orders issued by Commissioner Ratekin in this case as void or improper based          <.)
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        on the arguments raised herein. I would appreciate my fair day in court for an          a
        evidentiary hearing to review my evidence. The trial court as well as the appellate

        court have flat out refused to grant me a simple evidentiary hearing.
   2. Remand this case for a new trial on all issues heard by Commissioner Rate kin
          before an impartial and authorized judicial officer and grant me the before
          requested evidentiary hearing to present my evidence and witnesses.




   3. Order an evidentiary hearing expanding the record to include additional evidence of
          bias, conflicts of interest, retaliation, and other misconduct by Commissioner
          Rate kin.




   4. Provide any other relief as deemed just and proper to redress the profound denial of
          rights and irreparable harms inflicted absent due process.

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Petitioner also respectfully requests waiver of court fees/costs given the catastrophic       Cl)

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impact of these proceedings on his health, finances, career, and fundamental parental         ....
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rights . Equity dictates access to the courts unhindered for the corrective relief sought     ::l
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herein.                                                                                      ~
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Petitioner prays for a compassionate ear and fair legal process. The extraordinary wrongs    -B
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committed in this case compel intervention to remedy an innocent family's unspeakable        .D
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suffering. Justice cries out for a righteous course correction.                               Cl)

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VI. Conclusion                                                                               a
This case shocks the conscience and warrants extraordinary relief to remedy an
unconscionable injustice tearing apart an innocent family. Me and my children have been
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truly terrorized by some thugs who run a muck in the San Diego divorce industry. I call on
this court for some basic and simple justice where I can have my day in court and bring my
evidence and witnesses which is something the trial court and the appellate court have
simply refused to do. I would speculate it's because they want me punished for not turning
over my son where the divorce industry could keep using him as a human cash register.
will also submit to the court where District Attorney Investigator told me in a recorded
conversation that my sons attorney (Matt Cord) had simply aligned with Dave Shilman and
NOT IN MY CHILDS BEST INTERESTS! When one listens to the call in full, they will easily
see that taking my parental rights away was a complete farce and a sham according to DAI
Luis Pena who then folded due to political pressure. What a disgrace!

Here is the short version: When considering the evidence, which is why I have requested an
evidentiary hearing many times, it is clear to any reasonable person that retired
Commissioner Ratekin breached her ethical duties. When she and her cronies got caught,
they tripled down with nothing other than more cronies in their pockets. Ms. Rate kin
should be disbarred, and I will pursue that at some point along with about 50 others that
got defrauded by her. Clearly, Ratekin wanted this case and wanted it bad. No orders were
made or arguments heard yet she held on to the case illegally with white knuckles and
likely because she had already promised Dave Schilman a victory. When Ratekin finally
recused in shame, Dave Schulman went running for help to retired Judge Alknse to cover
this mess up and that she did and likely because Dave Schilman is well connected in San
Diego. This case comes down to mostly my son who I raised because I was a stay-at-home
dad for almost a decade. Rateken tried to snake my parental rights away illegally and I said
it was not going to happen as I would stand up for me and my childrens rights. I had legal
necessity to hold on to my son due to the emotional trauma he was and continues to suffer
due to this RICO crew's unethical activity. Because I was in compliance with the law but
still holding onto my son for his protection, I was illegally and unethically punished by a few
within the San Diego Superior Court, and I call on this court to remedy such egregious
blatant violations of basic law and fairness. I will not hold my breath, but I need to exhaust
my remedies to get to the 9th circuit where I am hopeful that such egregious violations will
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not go unnoticed and unpunished. All judicial officers have a duty to uphold the law and
basic fairness. I got railroaded and got zero.zero and I am an awesome dad with lots of
witnesses that have never even had a chance to speak due to this farce and a shame that a
few people have committed on me and my children which will forever scar us. This is truly
disgusting, and I call on this court for basic fairness and to give me my fair day in court.

As held in Rochin v. California (1952), misconduct that "shocks the conscience" violates
due process. Ratekin's actions shock the conscience. Her oversight amounted to a "farce
and sham," not due process. As this Court found in Moore v. Dempsey (1923), where
proceedings show utter contempt for rights, the resulting orders must be condemned.

For two years under two judges, custody was 50/50 based on court services
recommendations. Yet Ratekin shredded Petitioner's bond with his 14-year-old son Bryce,
now 17, and 11-year-old daughter Skylar, now 14, absent evidence.

The US Supreme Court has recognized the substantial harm caused by unwarranted state
interference in parental rights. As held in Troxel v. Granville (2000), the Due Process Clause
"provides heightened protection against government interference with certain
fundamental rights and liberty interests," including parenting.

Petitioner raised Bryce and Skylar as a stay-at-home dad for years. Now Skylar won't speak
to him after 2 years of separation orchestrated by Ratekin. This "grievous loss" cannot be
restored. As found in Santosky v. Kramer (1982), improperly severing the parent-child                >.
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relationship causes "irreparable harm."                                                             -0
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Bryce has begged the court to let him go home amidst escalating conflict under his mom's             V
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roof. But his cries remain unheeded, his anguish compounds daily.                                   ......
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Ratekin's ethical breaches and willful misconduct absent due process have unjustly                   E
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separated a loving father from his children for years now. Her actions shock the                     0
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conscience.

This unprecedented abuse of power demands intervention to remedy egregious legal
wrongs tearing innocent lives apart. Petitioner implores this Court to act with courage and
wisdom to halt the injustice and restore what has been unjustly taken. The cries of
suffering children separated from their dad compel action.

The exhibits filed under separate cover are extensive so I will simply be brief below with
some listed appendix items to show what a farce and a sham that retired Patti Rate kin and

opposing counsel Dave Schulman have perpetrated on this court and made a mockery of

our justice system. My peremptory challenge; Ms. Ratekins admission she did not have
time to hear the case on this same day; Ratekin saying she is acting as a temp Judge;

Bryce's TRO and police report against assigned minor counsel; signed judgment by Ratekin

a day after she recused; and the most embarrassing and absurd order by Ms. Ratekin is
where she was so desperate to burn me that she signed an order for supervised visitation

the day she rec used based on a witness affidavit regarding the child psychologist which

has nothing to do with custody. (exhibit F) Ms. Rate kin was just upset that her RICO crews
scam of placing my son in a "facility" was falling apart based on the evidence.




VII. Certificate of Word Count

Pursuant to California Rules of Court, rules 8.204(c)(1) and 8.360(b)(1 ), I certify that the
total number of words in this Petition for Review, excluding tables of contents and

authorities, this certificate, and any appendices, is 5603 words.

I certify that this petition complies with the form requirements set forth in California Rules

of Court, rules 8.204 and 8.360.
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VIII. CERTIFICATE OF TRUTH
I, Rob Emert, declare under penalty of perjury under the laws of the State of California that
the factual allegations in this Petition for Review are true and correct to the best of my
personal knowledge.




Dated: 03/07/24




Rob Emert

760-612-9328




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VIIII. CERTIFICATE OF ELECTRONIC SERVICE                                                             8
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I, Glenda Emert, declare:                                                                            ::l
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I electronically served a true copy of this Petition for Review on 03/07/24 by t ra nsmitting a     <l'.'.
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copy from my email address to the email address of record for Linda Ciano, Dave                      Q)

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Schilman, San Diego Superior Court Appellate Division and then uploaded to the California            >.
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True Filing system. elsieesq@juno.com; appeals.central@sdcourt.ca.gov;                              "'O
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dschulman@msmfamilylaw.com                                                                          .....>
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I declare under penalty of perjury under the laws of the State of California that the                8
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foregoing is true and correct.                                                                       0
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Glenda Emert




X. NOTICE OF INTENT TO LODGE DOCUMENTS


Pursuant to California Rules of Court, rule 8.252{a)(1), Petitioner hereby provides notice of
intent to lodge the following documents that are relevant to the issues presented in this
Petition for Review.

The lodged documents contain material information pertaining to the extraordinary claims
presented in this petition. In accordance with California Rules of Court, rule 8.252(a)(2),
true and correct copies of the lodged documents will be furnished to the Court upon
request. Petitioner respectfully requests the Court consider the proffered documents in
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assessing the merits of this petition.                                                           0
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A. Bryce Emert Declaration with Five Sworn Witness Affidavits
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B. Rob Emert Medical Documents                                                                   0..
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C. Text from Bryce Emert Behavioral Therapist                                                   <C
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D. Stay motion to Presiding Judge Alksne 10/01 /21.                                             ..c:
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E. Andrea typical attitude text message                                                         "'O
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F. 09/30/21 Hearing while I am still in hospital that got postponed until 10/04/21 where        ·-(!.)
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Ratekin then rec used and that hearing did not go forward either.                                 I,.,
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G. Matt Cord, minor council for Bryce just doing what Ms. Rate kin told him to do.
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H. 10/01 /21 Andrea Schuck motion asking for supervised visitation but later claims it was        0
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already ordered on 09/30/21 .

I. ADA and medical documents that went ignored
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J. Mark Fidelman witness affidavit of Bryce's psychologist Jesse Olague.

K. Bryce Emert police report against his attorney Matt Cord where Bryce spoke
independently with police.

L. Bryce goes to file TRO against his attorney Matt Cord and speaks to the court himself.

M. THREE FCS reports indicating 50/50 custody for almost two years and I, Rob Emert,
initially was granted 60%.

N. Rob Emert therapist letter right off blue shield insurance that Ratekin rejected even
though it complied with court rules and with zero evidence, recommends a full 730
psychological evaluation.

0. Andrea Schuck therapist letter that Rate kin ignores.

P. 04/28/21 Ex Part where I simply ask for discovery and statements from the court and

minor counsel where are they getting their information from to support drastic orders with
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zero evidence.                                                                                        u
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Q. Court Transcripts
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R. Andrea Schuck Malicious Text to family friend. Any friends or family that disagreed with           r./1

Andrea's narrative, she would attack and then isolate the children from.
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S. Andrea Schuck Arrested for Domestic Violence
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T. Andrea Schuck Arrested for Domestic Violence                                                       "O
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U. Mediation offers, many of them.                                                                      u
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V. Reply motions regarding minor council Matt Cord trying to recommend taking custody                   C:
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from me with no evidence to do so. Not looking out for his client and just being a spineless            E
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stooge.                                                                                                 0
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W.Motions to Presiding Judge Alksne for Rate kin to Recuse

X. Matt Cord, attorney for Bryce, ignores what is in the best interests of the child. Emails.
                                                                                            S2




Y. Sworn Witness Affidavits regarding Rob Emert and his children, Bryce and Skylar.

Z. Updated ADA request that went ignored.

AA. Email asking Dave Schilman why all the hassle. Dave Schilman is guilty of moral
turpitude.

BB. Extensive Emails showing Matt Cord did not do what was in his clients best interests.

CC. California Ethical Rules for Judges working with self-represented litigatns.

DD. Dave Schilman threatening the San Diego Reginal Center with an injunction if they

provide therapy sessions to me and my children.

EE. San Diego Regional Center emails.

FF. Ms. Ratekin highlights from court transcripts.

GG. Emails Documenting Blatant Denial of Access to My Own Hearings and Trial                     ~0
HH. Timeline of heart attack and being denied access to my own hearings and trial.
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II. Motion to withdrawal stipulation to Alksne that went ignored.                                 ~
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JJ. Rob Emert's witness list. Alksne allowed for a motion in limine to keep ALL my witnesses
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out of my own trial.                                                                             u
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KK. Felony legal notice given to Alksne and Ratekin                                               >.
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LL. Federal Lawsuit against Ratekin                                                               0)
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MM. Press Release- Unethical violations in SD Family Courts.                                      u
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NN. Peremptory challenge that was filed timely and before orders made that was illegally          s:::
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denied.                                                                                           8
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00. Ex Pa rte 09/26/22 that Judge Robinson said was not an emergency and she did not             a
have jurisdiction to hear the matter regarding the 11/29/21 default trial judgment.

PP. Ex Parte 11 /24/21 that went ignored by Judge Alksne
                                                                                             S3




QQ. DCSS motion that went ignored and continues to be ignored 07/27/22

RR . Peremptory challenge along with minute orders for the first day Rate kin heard case and
a month later where she took all my legal parental rights away.

SS. Matt Cord blatantly ignoring alarming conduct of Bryce's mom

TT. Withdrawal of stipulation of Ratekin filed with Alksne but she simply ignored it.

UU . Writ filed with the appellate court 11/22/21

W. Bryce homeschool documentation

WW. CPS closing case after the interview with Bryce

XX. District Attorney email showing Bryce's mom "giving" custody of Bryce to me.

YY. 05/20/21 Disqualification of Rate kin
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ZZ. 06/14/21 Disqualification of Ratekin
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MA. DCSS motion filed and ignored .
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BBB. Email where Bryce's mom is trying to get Bryce's IEP case manager to not comment              0..
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on the fact that Bryce does not belong in a residential home.
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CCC. 10/13/22 email to Luis Pena saying he can and should meet with Bryce and                      (I)
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forwarded him lots of information already given to the prior investigator, Steve Mcintosh.         >--.
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Both Pena and Mcintosh told me that this case did not belong in criminal court.                   "'O
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DDD. Email to Dave Schilman showing Bryce being abused.                                           ·->
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EEE. Many emails detailing me being denied access to my own hearings and trial.                   c(I)

FFF. 04/28/21 ex pa rte to vacate Ratekins fraud upon the court                                    §
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GGG. Reservation of fed eral rights .                                                             Q

HHH. Andrea Schuck malicious text

Ill. Press Release of San Diego Family Court misconduct.
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JJJ. Text from Bryce's Friend's Mom, Who Is a Witness to Andrea's Alarming Behavior

Towards Bryce and His Friends

KKK. DDA Balerio and Bryce Emert Transcript of Interview

LLL. Default Judgement 10/15/21

MMM. Default Judgement 11 /18/21

NNN. Default Judgement 01/24/22

000. Ex Pa rte 11 /29/21 for Continuance or Remote Hearings Due to Heart Attack

PPP. Ex Parte to Vacate 12/10/21 Default Judgement 11/30/21 including updated medical

documents/records that simply went ignored by then Presiding Judge Alksne and the ADA
coordinator.

QQQ. Judge Alana Robinson Indicating She Does Not Have Jurisdiction to Hear the Default
Judgement Entered 01/24/22

RRR. Copy of the Complaint Provided to the DA, DOJ, FBI, Presiding Judge, Local Police,

and More

SSS. Ex Pa rte 11/29/21 for Continuance or Remote Hearings Due to Heart Attack

TTT. Motion to Reconsider the Stay Stemming from 11/29/21 Trial
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UUU. Appeal for 10/15/21                                                                       .D
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WV. Appeal for 11 /18/21                                                                       .....>
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WWW. Andrea Schuck Email Indicating I Must Drop All My Current Motions and Appeals

Before She Comes to the Negotiating Table in Bryce's Best Interests
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XXX. Private Investigator's Interview with Bryce Emert                                           0
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YYY. Withdrawal of Guilty Plea

ZZZ. Andrea Schuck Post Regarding My Daughter Not Wanting to See Me
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AAAA. Appeal of Guilty Plea

BBBB. All Email Communications with DA's Office

CCCC. Appeal Court Conformed Documents Showing Default Trial Judgement Is Not on
Appeal

DODD. Federal Lawsuit

EEEE. 020421 court min order Rate kin leaving early due to COVID-related matter

FFFF. Transcript of court the day Ratekin recused

GGGG. Bryce transcripts of phone calls

HHHH. Department of Justice Email forwarding my investigation request to the FBI

1111. District Attorney Email saying Andrea Schuck is giving me custody of Bryce
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JJJJ. Transcript of FBI call of the "threat"                                                        0
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KKKK. Dave Schulman letter to minor counsel showing misrepresentation.
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LLLL. Transcripts of District Attorney phone calls that prove lying; withholding evidence;          0..
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and a blatant disregard for candor to the court
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MMMM. Bryce letter he wrote to the court while I was illegally incarcerated                         (].)
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NNNN. Witness Cole, Bryce's friend who was interviewed by a private investigator                    >-.
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0000. Witness Mark Fidelman who was interviewed by a private investigator                           ;>
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PPPP. Witness Cortney Costello who was interviewed by a private investigator                         I-<
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QQQQ. Opening Brief for Court of Appeals
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RRRR. Dave Schulman letter to minor counsel                                                          0
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SSSS. Dave Schulman replies in the Federal lawsuit where he blatantly lies to the court.

Dave Schulman states that Comm. Patti Rate kin was basing a "facility" recommendation of
                                                                                          96




Bryce on a psychological report when, in fact, Comm. Patti Rate kin said it within five

minutes of meeting parties before there could have been any such report.

TTTT. Habeas Corpus ready to go so if DDA Balerio illegally incarcerates me again

UUUU. Andrea stalking two women on line after she realized they are friends of mine.




XI. Appendix
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A. Bryce Emert affidavit. Bryce is now almost 17 and
simply wants to go home.
AFFIDAVIT OF BRYCE EMERT

I, Bryce Emert, declare the following under penalty of perjury:

I have personal knowledge of the facts stated in this affidavit and am competent to testify to them if the
court allows me to do so. I would like to talk to the court but have been prevented from doing so, which
has caused me so much hardship and pain. I am almost 17 and I don't understand why my voice is not
being heard by the court. I have so many friends who have parents who are divorced, and they are
heard by everyone.

    1. The following letters and emails were written by me in my pleas to be heard. Those are my
       words in those letters and emails. They describe me being harassed and traumatized and to
         escape it, I asked my dad to simply live with him to escape the emotional abuse and toxic
         relationship I have had with my mom for lots of my life. She used me in divorce proceedings
         and continues to do so.
    2.   My Dad homeschooled me and I believe I learned more from him in that one year I lived with
         him than three years in the public schools.
    3.   My dad encouraged me to have a relationship with my mom and always has. He has even asked
         her to go on outings. My Dad encourages me to see the best in everyone.
    4.   I have spoken to the District Attorney's office, the police, CPS, school counselors, teachers and
         have even tried logging into court proceedings just to be shut out. I have told everyone the
         same thing. My mom was using me in divorce proceedings, it was horrible, and the emotional          t::s
         abuse continues. She holds putting me in facilities over my head. She has t ried to isolate me       0
         from my dad and anyone who stands with my dad. She has shown that she hates him more
                                                                                                             u
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         than she loves me.                                                                                   8
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    5. Please dismiss criminal charges from my Dad. He did not do anything wrong. He saved me per             i....
       my request and he is a great dad and has always been there for me. My Dad has always                   g.
                                                                                                             r./)
       encouraged me to meet new people and do my best in everything in life. Why are th e courts
       trying to keep me from my Dad?                                                                        <
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Please let me go home to my Dad . I will continue to work on my relationship with my mom. My dad is
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not the cause of my issues with my mom. Please call or face time me anytime. Please let my voice be
                                                                                                               >--.
heard in court.                                                                                              ..D
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This concludes my sworn te stimony. I certify under penalty of perjury under the laws of the State of
California that the foregoing is true and correct to the best of my knowledge and recollection.              ·->
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Executed on 11/16/23 in San Diego, CA                                                                         <l)

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Bryce Emert

760-492-4289
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B. Peremptory Challenge filed timely and before any        <C
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orders made or arguments heard along with the               (1)
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improper denial. This was Monday 02/08/21.                  >-.
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 R bert Emert
 2351 V ista.ago Terrace
 Escondido, CA 92029
 Self Represented
               ' f, E~ ..,-J h c I (j     760-<312-9328
  ' " .,, . n : ,;,E-, < r-: pe • .,,,,   robemert@msn.com
     ... r , ; c;,._1:, ~, 11-.1: ,.,.me , Self
       PERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                                                         FEB O8 2021
      CENTRAL DIVISION CENTRAL COURTHOUSE . 1100 UNION s-:-. SAN DIEGO CA 921 0 1
      CENIRALDIVISION HAcLOFJUSTICE330W BROADWAY SAN DIEGO CA9:!101
      CENTRAL DIVISION, KEARNY MF SA. ll950 CLAIREMONT MFSA !:L VD SAN DIEGO CA 92123                                                       By:
      CENTRAL DIVISION JUVENIL[ COURT 2851 MCADOW lARK DR . SAN DIEGO CA 9212J
      NOR I H COUNTY DIVISION 325 S ME'LROSE OR VISTA CA 92081                                                                                    ------
      E/IS l COUN l Y DIV<Slr)N 250 f MAINS T Fl CAJON. CA 92020
 ~._, SOU   f H COuNTY D•VISION. 500 3RD AVE , CHULA VISTA CA 91910
 PL.l.lNT1F r (s 11PETITIONER(S J

IAndrea Emert
 C,EFE NDANT1S11nESPOND[NT(Si                                                                                                     JUDGE

IRobert Emert
 I N THE MATTER OF
                                                                                                                                  Honorable Patti Ratekin
                                                                                                                                  DEPT

Imarriage of emert                                                                                                                NC 19
I                                                     PEREMPTORY CHALLENGE
                                                                                                                                  CASE NUMBER

                                                                                                                                  19FL010852N

Robert Emert                                                                                                              is ~ a party : ) an attorney for a party ir tre
above-entitled case and declares that _Comm issioer Patti C. Ratekin_______ __                                                                    the Judicial officer to ~
wnom th s case is assigned. is pre1ud1ced against the party or the party's attorney or the interests of the party or the party·s8
attorney such that the said party or parties believe(s) that a fai r and impartial trial or hearing cannot be had before such v
1ud1c1al officer                                                                                                                                                                  s
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 WH ERE FOR i;.6rsuant to the provisions of Code Civ. Proc § • 70.6. I respectfully request that this court issue its order(/)


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 I declare under penalty of perJury under the laws of the State of Calrtorn1a that the foregoing is true and correct                                                          ..c::
                                                                                                                                                                               .....
 Date 02/08121 _ _ __ _ __
                                                                                                                                                                     Signature]
                                                                                                                                    - . - - - - - - - - - - -~                    >
                                                                                                                                                                                  -
                                                                                                                 ORDER                                                            (!)
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                                                                                                                                                                                  (1)
 D GRANTED - The court finds the challenge is timely fi led and the party s/attorney·s above statement meets the ,::
         requi rements of Code of Civ. Proc §170 6 (a)(4). The case will be reassigned and a notice will be mailed to the parties C::
         and/or co..insel                                                                                                                                                         8
~DENI ED                         ~~ ~                                                                                fa                                                           g
                                                         Cn'\. ~-1./-;l.J                                                                                                     a
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 IT IS SO ORDERED.

 Date ___._
          f_...EB~O..::....
                    9 _20_21_                                  _
                                                                                                                             ~ Commissioner of the Supe11or Court
                                                                                                                                             P,\TTI RATEKIN

 Date: - -- ~ - -                                                                  Case is reassigned to Judge1Co-nm1ssioner

                                                                                             PEREMPTORY CHALLENGE
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C. Retired Commissioner Patti Ratekin indicated in the
court transcript that she did not have time to hear
arguments on this case on this day she took the case.
This was Thursday, 02/04/21.
25             THE COURT:     OKA)     WELL, THAT'S WHAT THE TRIAL
                                                                         02
26   IS GOING TO BE ABOUT.      THERE'S GOING TO BE A LOT OF
27   THINGS THAT THE TRIAL IS ABOUT 1 BUT I ' VE GOT TO DEAL WITH
28   WHAT TO DO BETWEEN NOW AND THEN.         AND I'VE GOT A


                            Peggy Tiess, CSR #7908




                                                                   138        1S


 1   RECOMMENDATION -- I NEED TO GET THROUGH PART OF MY
 2   CALENDAR 1 I'M NOT READY TO DO THIS CASE RIGHT NOW, SO
 3   I ~Ll:--TRAIL YOU UNT~ ~- THE END.   I'LL GIVE YOU AS MUCH TIME .
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 4   AS I CAN GIVE YOU .     OKAY.                                              0
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                                                                              C/J
 7           (THE PROCEEDINGS ADJOURNED IN DEPARTMENT 19.
                                                                              <C
 8           NOTE THAT THIS CASE WAS NOT RECALLED IN
                                                                              u 0,)
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                                                                               ......
 9           DEPARTMENT 19 THIS DATE.       ACCORDING TO THE                    >-.
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10           MINUTES, THE CASE WAS SENT TO DEPARTMENT 16,                       0,)
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11           JUDGE BROWER.)                                                    (.)
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12                             -000-                                          ......
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D. Retired Commissioner Patti Ratekin with no notice
to me switches duties from a "commissioner" to a
"temporary judge" and was already working outside of
jurisdiction due to the properly filed peremptory
challenge filed 02/08/21. This "temp judge" notice
was slipped in on 02/25/21.




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~_            _ SUPERIOR COURT t'lf CALIFORNIA, COUNTY OF SAN DIEGO ~~                                                                        6
 N~..MBE,R _                                     -._ .       REPOR~ER          _ CSR#                ~REIER        O SPANlSH □ ------=--=-
  l 9FI:,QlO85·2N                                    ~Van ssa ~v,ans, CSR--.12'733                   GJp D R
                                                             □ NOT REQUESTED □ NOTREPORTED
  1ATE OF HEARING       TIME OF HEARING       DEPT           JUDGE                                               CLERK
 J2/25/2021             9 : 00 AM             N- 19           PATTI C . RATE KIN                                  K. HIC KMAN
 PETITIONER                                                      p □ NP     ArTORNEY FOR PETITIONER
   Andrea L. Emert                                                          DAVIDS SCHUu-!AN DAVIDS SC HULMAN
 RESPONDENT                                                      p □ NP     ATTORNEY FOR RESPONDENT
                                                                                                                                            OP □NP
   Robert Emert                                                             PRO SE       Robert Emert
 ADDITIONAL PARTY                                            0 p O NP       ADDITIONAL COUNSEL                                              DP □NP


  ~obert_ Emert, Re~est~ for Order. Hearing : re : lC HANGE ,i n <"!: hi ld Cu stody, Wi si t 'a tioff
                                                                                                 0

 ~upport ; ~pouaT "Support; ~001r y ~upport Retroactive to Date Motion Filed Pursuant to
 FC Section 3653 & 4333; FCS to Interview Br yce (Scheduled per 11 / 10~ Ex Parte Order)
 Next Heari ng: 3/ 18 / 202 1                                                       ~ CONFIRMED □ VACATED

THE ABOVE MATTER CAME ON FOR HEARING THIS DATE WITH ABOVE APPEARANCES, AFTER HEARING THE COURT ORDERED THAT

CONSOLIDATION: □CASE NO -:-:---:-:--c-::-----,-,::---.-r---:::-:, IS CONSOLIDATED WITH PRIMARY/LEAD CASE NO.
OATH: 0PTNR □ RESP SWORN AND EXAMINED □AS TO JURISDICTION 0ADVISAL. WAIVER OF RIGHTS, S-TI_P_U-LA-T-10-N-RE         _ :_P_A-::::-T.,,-ER,--N-l=TY-FI-LE_D_
CUSTODY: LEGAL: □JOINT O SOLE LEGAL PTNR □ SOLE LEGAL RESP                        PHYSICAL: □ JOINT □ PRIMARY 0PTNR O RESP
VISITATION: □ PARTIES REFERRED TO FAMILY COURT SERVICES _ __ _ _ □ EXTENDED MEDIATION □ PSYCH. EVALUATION ORDERED
   FAMILY COURT SERVICES □ MINORS' COUNSEL RECOM. DATED _ _ _ _ ADOPTED AS AN ORDER Dav STIPULATION O AS MODIFIED
B  VISITATION OF 0PTNR □ RESP □ SUPERVISED BY □AGREED UPON 3RD PARTY □ PROFESSIONAL AGENCY
                                                                                                                              --------
□CHILDREN NOT TO BE REMOVED FROM □COUNTY □STATE WITHOUT WRITTEN CONSENT OF THE OTHER PARENT OR THE COURT t
□ PARTIES NOT TO MAKE DISPARAGING REMARKS ABOUT THE OTHER PARTY OR HAVE ADULT DISCUSSIONS IN THE PRESENCE OF THE
CHILDREN                                                                                                                ( )
                                                                                                                                                    5
   PTNR □RESP ORDERED NOT TO CONSUME ALCOHOUDRUGS IN PRESENCE OF CHILDREN O DURING VISITS OR WIIN 24 HRS OF VISITATltrN
-1PTNR □ RESP TO COMP SUBSTANCE ABUSE ASSESSMENT                                                                          (!)
0PTNR □RESP TO COMP. PARENTING CLASS 0PTNR □RESP TO COMP. ANGER MGMT, CLASS 0PTNR □RESP TO COMP. 52-WEEK O\ijP
0PTNR □RESP STIPULATE/ORDERED TO DRUG TESTING □PROOF TO □ COURT FILE □COUNSEL BY                                          1--,
COURT FINDINGS (FC§ 3048): BASIS FOR JURISDICTION· □ HOME STATE □EMERGENCY ONO OTHER STATE HAS ASSUMED JURISD. & THI~
IS AN APPROPRIATE FORUM □ PREVIOUS ORDERS MADE IN THIS COURT O                                                            .....,
MANNER NOTICE Gl'v1:N: □ PERSONAL SERVICE □ MAIL SERVICE □PERSONAL           ARESENT & kA !ll!>WLEDGE OF HEARING O      ct)
HABITUAL RESIDENCE OF THE CHJLD(REN): □SAN DIEGO CNTY, CALIFORNIA, USA        □•-----------------""-
□ PARTIES ADVISED THAT VIOLATION OF THIS ORDER MAY RESULT IN CIVIL OR CRIMINAL PENALTIES, OR BOTH                       U
THE COURT FINDS:              CHILDREN CHILD SHARE ·           ,.                  □ INTERIM □ FINAL CUSTODYNISITATION OP-Of:R_
PTNR: OSINGLE OHH □ MARRIED □JOINT □ FILING SEP (                 RESP. 0 SINGLE OHH GMARRIE0 □JOINT □ FILING SEP {     ...ct)
GROSS$          □NON-TAX$      _ _ __ _ □ABILITY                  GROSS$          □NON-TAX$ _ __ _ _ _ □ABILITY          -+-'
DEDUCT:HEALTH$           PROP.TAXS          INTEREST$             DEDUCT:HEALTH$          PROP.TAX$         INTEREST$     >.
UNION DUES$~    - - ;AND.RETIREMT$_             HARDSHIP$_        UNION DUES$_          MAND. RETl&MT$_        HARDSHIP$ ~
NEW SPOUSE$ - ~ -- -- -              NETS_ __ _ _ _ _             NEW SPOUSE$__ _ __ _ _             NET$,_ _ _ _ _ _-41
THE COURT ORDERS CHILD SUPPORT OF:$_ _ _ _ _ _ _ MO.EFF: _ _ __ PAYABLE BY                0 PTNR □RESP         . :::
□CHILD SUPPORT ORDERED THRU D.C.S.S                                                                              (!)
□ FIRST CHILD$.__ __ _        SECOND CHILD$___ _ _         THIRD CHILD$ _ _ __ _ FOURTH CHILD $_         _ __ ~
0PTNR □RESP TO PAY 1/2 OF ANY UNCOVERED MEDICAUDENTAUORTHODONTIC/OPTICAU PSYCHOLOGICAL FEES PURSUANT TO FC§40631-<
0PTNR □RESP TO PAY 1/2 OF CHILD CARE COSTS FOR EMPLOYMENT / JOB SEARCH ONLY I AUTHORIZED EDUCATIONAL PURSUITS   ~
□BILLS TO BE SUBMIHED W/IN 10130 DAYS AND REIMBURSEMENT DUE 10130 DAYS AFTER RECEIPT OF THE BILL                 (!)
0PTNR □ RESP TO MAINTAIN □HEALTH INSURANCE AT MINIMAL OR NO COST □ LIFE INSURANCE                                                                    8
CHILD SUPPORT: EARNINGS ASSIGNMENT □ORDERED □ISSUED □NOT ISSUED.                                                 ;::::s

THE COURT ORDERS SPOUSAL SUPPORT OF:$r--- - - - MO.EFF: _ _ _ __ PAYABLE BY 0 PTNR □ RESP                                         □ RESERVED
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□TERMINATED □TERM. DATE_ _ _ _ 0THE COURT HAS CONSIDERED FC4320 FACTORS                                                                             Q
SPOUSAL SUPPORT: EARNINGS ASSIGNMENT □ORDERED □ISSUED □NOT ISSUED.

 ATTY FEES $._,___ _ AT$._ __ _ MO. EFF. ---===-- BY 0PTNR □ RESP □RESERVED 0 2 MONTH ACCELERATION CLAUSE
 OAS ADDTL. SUPPORT FOR ENFORCEMENT PURPOSES        □WAGE ASS IGNMENT AUTHORIZED
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  _,COURT RETAINS JURISDICTION OVER - - - -=-- - - - - - - □ RETROACTIVE TO____=-,=;-- -- □RESERVED f' 1"
 □COURT APPTS. Al1Y             _ __ _ _ FOR □ MINOR{S) (RESERVED A S TO FEE REIMBURSEMENT] □SEE ORDER APPOINTING COUNSEL



Page 1 of 2                                          MINUT.ES OF liHE FAMILY c·ouRT
SDSC D-025 (Rev 5/14)
                                                                                            0053'1
19FL010852N                               Emert vs Emert                                  03/01/21




Commissioner Patti C. Ratekin is a judicial officer selected by the judges of the San Diego
Superior Court assigned to hear and determine Family law cases because of her experience, skill
and knowledge in handling these matters.
In order to have a commissioner act as a judge in a case, aH parties to the case must agree that the
commissioner can act as a temporary judge. If any party does not agree, the case will be
reassigned to another judicial officer for today's hearing and all future hearings.
To ''stipulate" means you agree to the appointment ofCommissioner Patti C. Ratekin as a judge
for this hearing and all future hearings and trials in this case, including any contempt proceedings
and all post-judgment matters.
lT IS STIPULATED by the attorneys and / or parties by phone / virtual hearing that
Commissioner Patti C. Ratekin will hear and decide all present and future matters in this case as
a Temporary Judge, including any contempt proceedings and all post judgment matters.

The parties present oral arguments.

Court orders:
  • The Court appoints Attorney Matthew Cord as Minor' s Counsel for the minor, Bryce.
  • The Court appoints Attorney Cathryn Young as Minor's Cow1sel for the minor, Skylar.
  • Coutt reserves jurisdiction over payment of Minor's Counsel fees.
  • Both parties are directed to sign releases in order for Minor's Counsels to speak with the
      therapists. The parties shall each contact Minor's Counsel to speak with the children.
  • A copy of the FCS Report shall be provided to Minor's Counsels.
   • Respondent is directed to make ten ( I0) job contacts per week until employed full time at
      40 hours per week.
   • Both parties are directed to file an updated fncome & Expense Declaration prior to the
       next hearing.
  • Attorney Schulman shall provide Minor's Counsels with the parties' personal infonnation
      sheets.
  • The RFO is continued to March 30, 2021 at l :45pm in Depntmcnt 19.

                                               -de-
E. Email to Ms. Ratekin's clerk that I was indeed in the
ER recovering from a widow maker heart attack caused
by her and her cronies terrorizing me and my children
after two years of a 50/50 scenario by two judges 3 FCS
reports and 2 FCS child interviews. This was on
Thursday, 09/30/21.


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Rob Emert <robemert@msn.com>
Thu 9/30/2021 1:20 PM
To:sara.armstead@sdcourt.ca.gov <sara.armstead@sdcourt.ca.gov>


I 1 attachments (3 MB)
20210930_131022Jpg;


I I'm in the ER due to a massive heart attack. Picture attached to document. There was an ex parte
request at 8:30 this morning that is not an emergency. Commissioner Ratekin has been so biased
throughout her hearing my case that she says she is going to rule on the ex parte today at 3 if I don't
show up personally at court. It's not an emergency but Commissioner Ratekin wants to burn me so
bad she says she will rule on this while I am in the ER right out of a massive heart attack. Yeah, no
bias there.

Rob Emert
760-612-9328

Sent from my T-Mobile SG Device
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F. On 10/04/21, Ms. Ratekin finally recuses but throws
in an order of supervised visitation based on a witness
affidavit who was simply providing testimony regarding
the child psychologist. This has zero to do with child
custody and everything to do with malicious retaliation
of Ms. Ratekin because this witness affidavit was going
against the narrative of what Ratekin had been trying to
do for the prior six month of putting my son in a
"facility" for profit, divorce leverage and cronyism.

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          (C) At least 90 ~tare dilll(!Hd within 18 months frGffl tl'1I date the pedtlDn was flied.

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From: Lantz, Kristin <Kristln.Lantz@SDCourt.CA.GoV>                                                                          ..0
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Sent: Tuesday, October 5, 2021 4:37 PM                                                                                       (].)

To: Dave Schulman (dschulman@msmfamilylaw.com) <dschulman@msmfamilylaw.com>; robemert@msn.com                                ·->
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Cc: Husted, Adelina <Adelina.Husted@SDCourt.CA.Gov>                                                                          E(].)
Subject: Minute Order re: Recusal, reassignment, and RFO date on 10/7/21 at 10am                                              s::s
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Good afternoon,                                                                                                              Cl

Please note that Minor's Counsel's RFO has been set on .1onI21 at 10:00 am in
the Presiding DeRartment (1002). Judge Alksne has ordered all parties and
counsel to appear IN PERSON.

Thank you,
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  Robert Emert
1-235 1 Vista Lago Terrace
  Escondido. CA 92029
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        G11 VA~(H 1n o oE      Vista. CA 92081
             soi ...c>< NAME   Vista. CA 92081
                       Andrea Emert
      PLAINTIFF/PETITIONER:

OEFENDANT•RESPONOEN T. Robert Emert



                                                         OE CLARATION                                                        I9FL010852N

I. Mark Fidel man. being age of majority and not under any legal disability. make the following declaration of
my own l"n:c will, ::ind of my own personal know led gt: and bd id.

I am an acquaintance of Kobert Em~r1.,;_ Mr. Emert explained to me and others his issues with his divorce. He
asked me and others to listen to the conversation he was going to have with his son's Psychologist, Dr. Olague.
I agreed and listened to two c0nversations on different days while on spcakcrphonc with Mr. Emert. On
08112/21. l listened to Mr. Emc11 and Dr. Olague spea k about both of their concerns for Bf)·ce Emert
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On 0K/26/2 l . I listened in as Mr. Emen. Dr . Olague and Mr. Emcrts ex-wik spoke about concerns for Bryce.                                              V
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Whal was very clear in both conversations was that at separate times, both Dr. Olague and Mr. Emerts X wife                                              0...
indicated very clearly and several times that Dr. Olague would not be involved or pulled into any court related                                          ;:::l
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matler~ ~o the focus could be solely on the minor. Bryce Ern e11. It was very apparent that Dr. Olague tried to
make it dear to Mr. Eme rt that he wanted to generally get hi s take on where his son was at and the challenges
he faced so that he could help his sons parents moving forward in helping their ~on.                                                                    u--<
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 I havt: n:ad what Dr. Olague has now indica ted about Mr. l:.mert. What is very conc1:m1ng about Dr.< llague is
 the deceptive manner in which he said anything they talked about would not be shared with the coun and that
 anything they discussed would not draw him into anything eoun. di,urcc or custody related. Most or all Or.
 Olagu~s daims arc misrcpn:s.:ntations and mis-charactcnzations of what was actually said and discu~sed in
 regards to Mr. Emcn.

 I'd be happy to discuss tht: matter under pt:nalty uf per jury with the \:OU rt if so asked.

      I declare under penalty of perjury under lhe laws of the State of California that the foregoing is true and correct.
     Dale:        9/14/2021


     Mark Fidelman
                                           (TYPE OR PRINT NAHE;


                                                                                                  D Attorney for D Plaintiff D Pelitioner O Defendant
                                                                                                  0 Respondent ~ Other (Specify-) Witness
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G. Appellate court denial of rehearing motion




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                                                               02/26/2024
                          STATE OF CALIFORNIA             Brandon L. Henson, Clerk
                                                             By: Rita Rodriguez



In re the Marriage of ANDREA L.
SCHUCK and ROBERT EMERT.
                                         D079955
ANDREA L. SCHUCK,

      Respondent,                        (Super. Ct. No. 19FL010852N

      V.                               ORDER DENYING REHEARING

ROBERT EMERT,

      Appellant.


THE COURT:

     The petition for rehearing is denied.


                                                    O'ROURKE, Acting P. J.


Copies to: All parties
H. Conformed copy of motion to rehear.

 Please note that this was removed as it is already part of the
 record.




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Filed 1/30/24


                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion lias not been certified for publication
or ordered published for purposes of rule 8.1115.



                COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                 DIVISION ONE

                                          STATE OF CALIFORNIA



 In re the Marriage of ANDREA L.
 SCHUCK and ROBERT EMERT.
                                                                  D079955
 ANDREA L. SCHUCK,
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           Respondent,                                            (Super. Ct. No. 19FL010852N                                    u
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 ROBERT EMERT,                                                                                                                   VJ
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           Appellant.                                                                                                            u

         APPEAL from a judgment of the Superior Court of San Diego County,
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Patti Ratekin, Commissioner and Lorna Alknse, Judge. Affirmed.                                                                     >
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          Robert Emert, in pro. per., for Appellant.
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          Law Office of Linda Cianciolo and Linda Cianciolo for Respondent.                                                       C
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          Self-represented litigant Robert Emert (Robert) appeals a family court                                                   E
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judgment entered against him by a family court commissioner, Patti Ratekin,                                                      Q
arguing it is "void" or "required to be set aside and or vacated due to
[Commissioner Ratekin's] egregious violations of state and federal laws/rules
that govern our courts basic due process, basic service, and ethical conduct"
                                                                                  1H




and also because "she entered the judgments [sic] after she recused ...."1
Robert also appeals from rulings by Judge Lorna Alknse, who he claims,
"kept me, my evidence, my witnesses and my [American Disability Act]
coordinators out of my own trial even though I simply requested a
continuance and or remote hearings due to a heart attack." Finally, he
claims, with no citation to the record, that Judge Alana Robinson refused to
hear his challenge to Commissioner Ratekin's rulings.
      Respondent Andrea L. Schuck (formerly Emert (Andrea)) points out
Robert has failed to cite to the record and provide cogent arguments or sound
legal analysis and therefore has not presented sufficient grounds for reversal.
We agree and affirm.
                                  DISCUSSION
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      "Every brief must support any reference to a matter in the record by a
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citation to the volume and page number of the record where the matter                  u
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appears." (Cal. Rules of Court, rule 8.204(a)(l)(C).) . . . If a party fails to         8<l)
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support an argument with the necessary citations to the record, the                     g-
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argument will be deemed waived." (LA Investments, LLC v. Spix (2022) 75                ~
Cal.App.5th 1044, 1061; accord, In re S.C. (2006) 138 Cal.App.4th 396, 408.)
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      Further, it is an appellant's burden to provide an adequate record                 >-.
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establishing error. (Parker v. Harbert (2012) 212 Cal.App.4th 1172, 1178.)             "'O
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1      As respondent points out, one of Robert's notices of appeal states the           <l)
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appeal is from Commissioner Ratekin's October 15, 2021 order, but that is               .....
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the date the commissioner filed her June 24, 2021 order. We construe the
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appeal as taken from the June 24, 2021 order. We liberally construe notices             =
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of appeal" 'so as to protect the right of appeal if it is reasonably clear what         0
[the] appellant was trying to appeal from, and where the respondent could              Q
not possibly have been misled or prejudiced.'" (In re Joshua S. (2007) 41
Cal.4th 261, 272; accord, Cal. Rules of Court, rule 8.100(a)(2).) Robert's
second notice of appeal states it is from Judge Alksne's November 18, 2021
order.
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Generally, an appellant must include in the record either a reporter's
transcript or a settled statement. (Foust v. San Jose Construction Co., Inc.
(2011) 198 Cal.App.4th 181, 187; Gonzalez v. Rebollo (2014) 226 Cal.App.4th
969, 977 ["Without a complete record, we are unable to determine whether
substantial evidence supported the implied findings underlying the trial
court's order"].) "'Failure to provide an adequate record on an issue requires
that the issue be resolved against [appellant].'" (Foust, at p. 187.) These
rules of appellate procedure apply regardless of whether an appellant is
represented by counsel or is self-represented. (Nwosu v. Uba (2004) 122
Cal.App.4th 1229, 1247.)
      Any ambiguity in the record is resolved in favor of the judgment.
(Jameson v. Desta (2018) 5 Cal.5th 594, 608).) On appeal, this court starts
with a presumption that the judgment or order being appealed is correct; the         §
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burden is on the appellant to affirmatively show error. (Denham v. Superior          u
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Court (1970) 2 Cal.3d 557, 564 [" 'All intendments and presumptions are               E
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indulged to support [the judgment or order] on matters as to which the record         0.
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is silent, and error must be affirmatively shown'"].)
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      As an appellant, Robert is further obligated to demonstrate how the            u
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rulings he challenges prejudiced him. (See Cassim v. Allstate Ins. Co. (2004)         >--.
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33 Cal.4th 780, 800-802; Paterno v. State of California (1999) 74 Cal.App.4th        "O
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68, 105-106 ["[O]ur duty to examine the entire cause arises when and only              >
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when the appellant has fulfilled his duty to tender a proper prejudice                I-.


argument. Because of the need to consider the particulars of the given case,          C
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rather than the type of error, the appellant bears the duty of spelling out in        (.)
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his brief exactly how the error caused a miscarriage of justice"]; Vaughn v.         a
Jonas (1948) 31 Cal.2d 586, 601 ["[t]o presume in favor of error or prejudice
would be directly contrary to the policy of this state"].)


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      Based on the above principles and Robert's deficient briefing, we are
unable to conduct a meaningful review of his assertions of error and must
resolve this appeal in favor of the judgment. Robert has forfeited his claims
because he has not set forth the portion of the courts' rulings he disagrees
with or made cogent arguments assigning error based on the applicable law.
The presentation of an appeal is not merely a rehash of arguments
unsuccessful at trial, but instead is a careful assertion of legal error and
resulting prejudice. (Rossiter v. Benoit (1979) 88 Cal.App.3d 706, 712.)
      At the outset of his opening brief, Robert acknowledges his brief lacked
proper citation to legal authority: "In the interest of clarity and readability,
this brief focuses on the application of key authorities, those that are most
essential to the arguments presented in this case. Although the tenor of the
entire brief reflects the principles set out by a broad range of authorities as         t;:::s
                                                                                         0
referenced below, the document does not explicitly cite every authority on              u
                                                                                          il)
every page. The table of authorities that accompanies this brief provides a               a
                                                                                          ~
comprehensive list of all the cases, statutes, and other sources that                    0..
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significantly influenced the positions taken in this brief. [1] The lack of page
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numbers provided in the table of authorities that are supposed to correspond            u
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to those sections where the authorities are explicitly invoked and discussed is         -B
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not necessary as all the table of authorities are paramount in describing this          --0
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scenario. It should be understood that the principles drawn from these                  .:::;il)
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authorities permeate the entirety of the arguments, even if not expressly                 il)
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cited on every page. [ii] This approach ensures that the brief remains cogent,            C:
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while still acknowledging the breadth of authority underpinning the
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argument." (Some capitalization omitted.) "By failing to provide an adequate            a
record, [Robert] cannot meet his burden to show error and we must resolve



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any challenge ... against him." (Hotels Nevada, LLC v. L.A. Pacific Center,
Inc. (2012) 203 Cal.App.4th 336, 348.)
      We also decline to address Robert's arguments raised for the first time
in the reply brief, including his request for judicial notice.2 "For obvious
reasons of fairness, points raised for the first time in a reply brief will
ordinarily not be considered." (Rubinstein v. Fakheri (2020) 49 Cal.App.5th
797, 809.) This includes his request for an evidentiary hearing. "Although
appellate courts are authorized to make findings of fact on appeal ... the
authority should be exercised sparingly. [Citation.] Absent exceptional
circumstances, no such findings should be made." (In re Zeth S. (2003) 31
Cal.4th 396, 405.)




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2     After filing his reply brief, Robert filed in this court a motion
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requesting we take judicial notice of unspecified "undisputed factual matters
in the record of this case." He also requested an evidentiary hearing "in order
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to present additional evidence related to the timeline and events stated               0
below, which establish that the trial court lacked jurisdiction when it              0
recorded the November 29, 2021 default judgment on [January 24, 2022] due
to the automatic stays triggered by [his] previously filed appeals[.]" We
denied the request for judicial notice by separate order.

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                             DISPOSITION
    The judgment is affirmed.



                                                      O'ROURKE, Acting P. J .

WE CONCUR:


                                      BRANDON L. HENSON, C lerk of the Court of Appeal,
                                      Fourth Appellate District, State of California, does hereby
                                      Certify that the preceding is a true and correct copy of the
                 IRION, J.            Original of this document/order/opinion filed in this Court,
                                      as shown by the records of my office.

                                      WITNESS, my hand and the Seal of this Court.

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J. 03/30/21 hearing where all my parental legal rights
are snaked away with zero clear and convincing                 ~0
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  Andrea L. Emert                                                          DAVIDS SCHULMAN DAVIDS SCHULMAN
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   Robert Emert                                          ~P           NP   PRO SE     Robert Emert              Bo.;~~
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 MINOR' S COUNSEL                                                          MA'l''l'HEW W CORD         MATllEW WCORD ~
                                                           &._~r~ r\ ~O'-'.
  Robert Emert Rertc5est for Order Hearin~ : CHANGE in Child Custody, Visitat ion Support;
 Spoual Support; od1fy Support Retroac ive to Date Motion Fi led Pursuant t o FC Section
 3653 & 4333; FCS to Intervi ew Bryce (Scheduled per 11/10/20 Ex Part~grder)
 Next Hearing: 5/11/2021                                                 ~CONFIRMED □ VACATED

THE AS0VE MATTER CME ON FOR HEARING THIS DATE WITH ABOVE APPEARANCES, AFTER HEARi¥:. THE COURT ORDERED THAT

CONSOLIDATION: □ CASE NO _ _ _ _ _ _ _ _ _ _ IS CONSOLIDATED WITH PRIMARY/LEAD CASE NO.
0ATI4: □PTNR □ RESP SWORN ANO EXAMINED UAS TO JURISDICTION OAOVISAL, WAIVER OF RIGHTS, S-TI_P_Ul.A_T_IO_N_R_E_
                                                                                                             : P_A_T_E-RN_I_TY-Fl-lE_D_
CUSTODY: LEGAL: □ JOINT □ SOLE LEGAL PTNR □ SOLE LEGAL RESP   PHYSICAL: □ JOINT □ PRIMARY □PTNR □ RESP
VISITATION: □ PARTIES REFERRED TO FAMILY COURT SERVICES _ _ _ _ □EXTENDED MEDIATION □PSYCH. EVALUATION ORDERED
□ FAMILy COURT SERVICES □ MINORS' COUNSEL RECOM . DATED _ _ _ _ ADOPTED AS AN ORDER Dev STIPULATION □As MODIFIED
□ VISITATION OF OPTNR □ RESP □ SUPERVISED BY □AGREED UPON 3RD PARTY □ PROFESSIONAL AGENCY _ __ _ _ _ __


  CHILDREN NOT TO BE REMOVED FROM               COUNTY     STATE       WITHOUT WRITTEN CONSENT OF THE OTHER PARENT OR THE COURT
□PARTIES NOT TO MAKE DISPARAGING REMARKS ABOUT THE OTHER PARTY OR HAVE ADULT DISCUSSIONS IN THE PRESENCE OF THE                            O
 'HILDREN                                                                                                                                  U
 _JpTNR □RESP ORDERED NOT TO CONSUME ALCOHOUDRUGS IN PRESENCE OF CHILDREN O DURING VISITS OR w~ 24 HRS OF VISITAT1d&
OPTNR □RESP TO COMP SUBSTANCE ABUSE ASSESSMENT                                                                                      fa
□PTNR □RESP TO COMP, PARENTING CLASS □PTNR □ RESP TO COMP ANGER MGMT. CLASS OPTNR □RESP TO COMP. 02-WEEK 0 ~
□PTNR □ RESP STIPULATE/ORDERED TO DRUG TESTING □PROOF TO □COURT FILE □COUNSEL BY                                                     0.
COURT FINDINGS (FCI 3041): BASIS FOR JURISDICTION: □HOME STATE □EMERGENCY ONO OTHER STATE HAS ASSUMED JURISD. & TH~
IS AN APPROPRIATE FORUM □PREVIOUS ORDERS MADE IN THIS COURT 0
MANNER NOTICE GIVEN: □ PERSONAL SERVICE □MAIL SERVICE □ PERS_O_NA    -LL_
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                                                                                                                                   <('.--cr-
HABITUAL RESIDENCE OF THE CHILD(REN): □ SAN DIEGO CNTY, CALIFORNIA. USA    □.             ________________,._
□PARTIES ADVISED THAT VIOLATION OF THIS ORDER MAY RESULT IN CIVIL OR CRIMINAL PENALTIES, OR BOTH                                     (I)
THE COURT FINDS:              CHILDREN CHILD SHARE•           %                   □ INTERIM □ FINAL CUSTODYNISITATI0N ORMR
PTNR: □SINGLE OHH □MARRIED □JOINT □ FILING SEP (           )    RESP: □SINGLE OHH □MARRIED □JOINT □ FILING SEP (                    "'j
GROSS$          □NON-TAX$._ _ _ _ _ _ OABILITY                  GROSS S          □NOH-TAX$._ _ _ _ _ □ABILITY                        >.
DEDUCT: HEALTHS          PROP.TAX$          INTEREST$           DEDUCT: HEALTH$          PROP.TAX$              INTEREST$          .1::J
UNION DUES$_ MANO.R E T I R E ~ HARDSHIP$_ UNION DUES$_ MAND.RETIREMTS_ HAROSHIPS...:g_
NEW SPOUSES                          NETS                       NEW SPOUSES.________                   NET$                          ~
THE COURT ORDERS CHILD SUPPORT OF:$_ _ _ _ _ _ _ MO.EFF: _ _ _ _ PAYABLE BY                  UPTNR URESP             (I)
□CHILD SUPPORT ORDERED THRU D.C.S.S                                                                                  ~
□FIRST CHILD$._____ SECOND CHILD s . _ _ _ _ _ THIRD CHILD                            s_____FOURTH CHILO s _ _ _ _ _ I--,
□PTNR □RESP TO PAY 1/2 OF ANY UNCOVERED MEDICAUDENTAUORTHODONIIIC/OPTICAUPSYCHOLOGICAL FEES PURSUANT TO FC§4063....,
OPTNR □RESP TO PAY 1/2 OF CHILO CARE COSTS FOR EMPLOYMENT/ JOB SEARCH ONLY/ AUTHORIZED EDUCATIONAL PURSUITS                                 5
□BILLS TO BE SUBMITTEDW/IN 10/30 DAYS AND RE IMBURSEMENT DUE 111t130 DAYS AFTER RECEIPT OF THE BILL                                         8
□PTNR □RESP TO MAINTAIN □HEALTH INSURANCE AT MINIMAL OR NO COST □LIFE INSURANCE                                      :::S
CHILO SUPPORT: EARNINGS ASSIGNMENT □ORDERED □ ISSUED □NOT ISSUED.                                                    U
                                                                                                                                           0
THE COURTORDERSSPOUSALSUPPORTOF:S               MO.EFF: _ _ _ _ _ PAYABLE BY OPTNR □RESP                                     □ RESERVED    Q
□ TERMINATED □TERM. DATE._ _ _ _ □THE COURT HAS CONSIDERED FC4320 FACTORS
SPOUSAL SUPPORT: EARNINGS ASSIGNMENT □ORDERED □ISSUED □NOT ISSUED.

 ATTY FEES S_ _ _ AT$._ _ _ MO. EFF. - ---.=.-_BY □ PTNR □RESP □RESERVED 02 MONTH ACCELERATION CLAUSE
 □AS AO0TL. SUPPORT FOR ENFORCEMENT PURPOSES        □WAGE ASSIGNMENT AUTHORIZED
 ARREARAGES: □cou~TS ARRE~ft\GES AT $._ _ _ _ AS OF A ~Y"\ Dt>J:t;!R □RESP ORDERED TO PAy                  MO EFF:   s
   'JARING: □OFF CAL     ONT TO         5-\\~
                                         a,\. AT       (i DIN D E P T ~ BY □PTNR □RESP □ST~RT □REISSUE
                                                         c:\ •.
' .JEX.ISTING ORDERS R MAIN IN EFFECT PENDING FURTHERHEARING, EXCEPT WHERE IN CONFLICT, THIS ORDER CONm0LS    Q FD
 Cl'touRT RETAINS JURISDICTION O V E R - - - - - = = - - - - - - - □RETROACTIVE TO_ _ _.,..,.._ _ □RESER\t"h
 □COURT APPTS. ATTY. _ _ _ _ _ _ _FOR OMINOR(S) (RESERVED AS TO FEE REIMBURSEMENT) □see ORDER APPOINTING COUNSEL

Page 1 of 2                                         MINUTES OF THE FAMILY COURT
SOSC 0 -025 (Rell 5/14)
                                                                                          ...._
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO CAL. NO.
 JMBER                                               DATE Of HEARING
19FL 0108 52N                                        0 3/3 0/ 2 0 21

THE A8C>VE MATTER CAME 00 FOR HEARING THIS DATE WITHABOVE APPEARANCES, AFTER HEARING THE COURT ORDERED THAT


EMPLOYMENT: □PTNR □RESP ADMONISHED PURSUANT TO FC§-4330 □PTNR □RESP TO MAKE_ _ JOB CONTACTS PER WEEK AND
SUBMIT THE DETAILS TO OPPOSING COUNSEUPARTY_ __ __ _ _ _ _ _ _ _ __

PAYMENTS:          □PETITIONER
                   □RESPONDENT
POSSESSIONS:       □PETITIONER   - - - - - - - - - - - - --                - - - - - - - - - - -- - - --                  ----
                   □RESPONDENT
                                 ----------- - - - - --- - - --------------
RES TRAINING ORDERS: 0PTNR □RESP MOTION FOR RESTRAINING ORDER □GRANTED □DENIED PURSUANT TO TEMPORARY ORDER
□EXCEPTION FOR COURT ORDERED VISITATION EXCHANGES □PROTECTED PARTY MAY RECORD COMMUNICATION FROM RESTRAINED PARTY
□WITH MODIFICATIONS ,..___ _ _ YDS) TO EXPIRE: 03 YEARS 0 . _ _ _ _ _ 0FC6389 FIREARMS AOVISAL
0PCf29825 FIREARMS NOTICE TO RESTRAINED PARTY □RESTRAINED PARTY IN MILITARY- BRANCH: _ _ _ _ _ RANK _ _ _ __
□RESTRAINED PARTY TO PICK UP PERSONAL PROPERTY WITH PEACE OFFICER PRESENT ON _ _ _ __ _ _ _ _ _ _ _ __

MOTIONS: OPT~ □RESP MOTION_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ CJGRANTED □ DENIED

STIPlM.ATION: □PART/FULL □StmMITTEO/RECITED BY COUNSEL □PARTIES AGREE TO BE BOUND □COUNSEL AUTH. □ADOPTED AS ORDER

JUDGMENT: □GRANTED EFF. _ _ _ _ 01NCORP STIP.              □DISSOLUTION     □STATUS ONLY     □LEGAL SEP       □NULLITY □PATERNITY

WAIVER: 0PTNR □RESP WAIVES FILING OF FINAL DECLARATION OF DISCLOSURE

DISMISSAL: □AFTER PROPER NOTICE TO PARTIES. CASE DISMISSED WITHOUT PREJUDICE DUE TO INACTNITY                                  '§
ORDER AFTER HEARING: □PTNR ~ESP □MINORS ATTY. TO PREPARE ~END TO OPPOSING COUNSEL FOR APPROVAL □SUBMIT DIRE@-v

__JpTNR □RESP REFERRED TO FLF FOR PREPARATION OF 0FOAH 0ROAH-CLETS □JUDGMENT □OTHER
AND FLF TO PREPARE AND SUBMIT OIRECTLY TO THE COURT. 0 PTNR O RESP TO SERVE COURT-STAMPED COP_Y_ON_T
                                                                                                   _H_E_O_T_H_E_R_P_A-RTY-.
                                                                                                                            O
                                                                                                                              -s~
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□STATUS CONFERENCE PROCESSED BY FAMILY LAW FACIUTATOR'S OFFICE             □NOT REPORTED                                        0...
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OTHER:                                                                                                                         VJ

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              Counsel present oral argument.

              The Court adopts the FCS recommendations dated January 13, 2021 as modified and attached as Exhibit
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              A.                                                                                                                <.)
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              The One-Day Trial scheduled on May 11, 2021 is confirmed. Trial briefs shall be served on opposing               i5
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              party and filed with the court seven (7) days prior to trial.
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              The Court finds the parties have not filed updated Income & Expense Declarations. Respondent' s                   <.)

              Motion for Support is Denied.                                                                                     0
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              Respondent is directed to continue making job contacts as previously ordered.

              The Court continues the RFO to May 11, 2021 at 9:00am in Department 19.

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Page 2 of 2                                   MINUTES OF THE FAMILY COURT
SOSC 0 -025 (Rev 5/14)
RECOMMENDATIONS FOR THE PARENTING PLAN OF:

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     :; ky.:. .-11       1::·1-1: / 1<; ~ ; .. ,:/\),,,.-':) 1 J (A•::,                   I   I   y,·:,,·:: :




     LEGAL CUSTODY
     As a temporary order without prejudice

     ,;),, , J..nj:· ea E:ne :-:. shall have sole legal custody as to the
             chil.dren 's counseling and the father shall not have any
             contact              with        the            children's                             therapist                  under            any
             circumstances by phone, e-mail, text or messages passed
              through the chi ldren.                              Mother shall immediately arrange
             for Behavioral therapy for Bryce.                                                     The parties shall s h are
              join: .:.eq a.:. -:-·.:st::dy, wh .:..c::-. nea:--.s t: r.at A: :d rea ::::re :- t anci
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             have the final say i f there is any dispute .
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              Family Code secti on 3048 f indings.

     PHYSICAL CUSTODY

     i-. . ·:·~. e    ,-:". : ldr P.n shall reside primarily with mother .
      -·           The children shal.1 spend time with father :
       i }         Father shal.1. spend time with Bryce on Monday 9: 00 a, m .
                    through Thur sday at 6 : 00 p . m .
     .:.i \        Father shall spend time with Skylar Thursday 6: 00 p . m.
                    to Sunday 6 : 00 p . m.
                                       Father i.s admonished that at the time of tri.al -thi.s court
                                       .receives ooDpetent evidence th.at father conti.uues to
                                       discuss adult issues ~ith t:he chil.dren the court will
                                       likely i..mplement a profession.ally supe.r vised visitc1tti.on
                                       order for borh children,


                     HOLIDAYS/SFECIAL DAYS/ SCHOOL VACATIONS

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'i .   TELEPHONE/COMMUNICATION

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             be one phone call which shall last no more than 15 minutes.
             I£ the children calls the parent they sha11 not respond.
             The purpose of the phone call shall be to communicate with
             the children. All other business between the parents shall
             be discussed at another time .
       / j . There  shall be NO RECORDING of the children under any
             circumstances.
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6.     CONDUCT/SAFETY

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n .    There shall be psychological evaluation of father by a
       licensed psychologist to p r ovide the court with a DSM V
       diagnosis of father.
       Father and Skylar shall e nter into conjoint therapy to
       address the issue that she feels unimportant due to the
       a.mount of attention which is expended on Bzyce.
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   high l eve l of c o -parenting confl ict, sibling relatio~shi9,
   and any other ~ental health issues t h at arise.
E. Possible resources include: private insurance; ca:.l 211
   from any phone; or a Program Resource List may be obtained
   at Fami l y Court Services or o n the San Ciegc SGperior Court
   website www.s dc~u rt .ca . gov.




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B. Documentation showing the absence of evidence to
support placing Plaintiff's son in a facility, despite
concerted efforts by certain defendants to do so.
                                                                                              91


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ROBERT EMERT
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2351 \"ISTA LAGO TERRACE
ESCONDIDO.CA 92029
760-612-9328
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                               SAN DIEGO SUPERIOR COURT OF CALIFORNIA
                                         CENTRAL DIVISION


 ANDREA SCHUCK,                                   NOTlCE OF LODGED DOCUMENTS

                          PLAINTIFF,
                                                  19FL0J0852N - family court


 \'S.
                                                  Notice of Lodged Documents Pursuant to
                                                  CCP §1985, CRC Rules 2.256(b} and
 ROB EMERT,
                                                  3.1110
                          respondent




                                                  Judge Robinson ; 60 I
                                                  05/28/24 I :45 PM
                                                                             92




ROBERT EMERT
2351 VISTA LAGO TERRACE
ESCONDIDO, CA 92029
760-612-9328
robemert@msn.com




                 SAN DIEGO SUPERIOR COURT OF CALIFORNIA
                            CENTRAL DIVISION


 ANDREA SCHUCK,                     NOTICE OF LODGED DOCUMENTS

               PLAINTIFF,
                                    19FL010852N - family court


 vs.
                                    Notice of Lodged Documents Pursuant to
                                    CCP §1985, CRC Rules 2.256(b) and
 ROB EMERT,
                                    3.1110
               respondent




                                     Judge Robinson; 601
                                     05/28/24 I :45PM
                                                                                                    93




This is a notice of lodged documents.

Pursuant to California Code of Civil Procedure Section 1985, and California Rules of Court,
Rules 2.256(b) and 3.1110, this letter serves as notice of lodged documents previously
submitted in this matter.

Pursuant to Rule 2.256(b), they were originally provided on flash drive as they exceeded size
limitations for electronic filing.

While these materials have already been furnished multiple times, I am re-submitting the
appendix to the court and interested parties.

Should the Court or any party require copies of the full materials previously provided, I have
them available on a flash drive. As authenticated copies, they are lodged with the Court under
CCP 1985 and request they are marked as lodged exhibits under CRC 3.1110.

Please contact me if you need clarification that these documents have already been provided and
are part of the record. I aim merely to preserve and index these records, not duplicate prior
submissions.

Your assistance in ensuring these materials are available for the upcoming hearing is appreciated.



I, Rob Emert, declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct. Executed on 05/20/24 at Escondido, California.



PROOF OF ELECTRONIC SERVICE

I hereby certify that on 05/20/24, I electronically filed and served the foregoing document via
electronic service on all parties and counsel of record.
( Dave Schulman; dschulman@msmfamilylaw.com )

 ~~
Glenda Emert

05/20/24
                                                                                                    94




Exhibit A

3 FCS reports saying 50/50 and I initially was granted 60%. Two Judges, 3 FCS reports, and 2
FCS child interviews make this determination. This went on for about two years before Ratekin
took the case. Many offers were made by me for simply 50/50 with the children being able to go
back and forth between our homes on a as needed basis.

Exhibit B

50/50 offers

Exhibit C

Andrea was arrested for domestic violence against me and Bryce.

Exhibit D

Andrea Paystub and Hauck-wood profile page showing the two worked together and were
friends. Whitney Hauck - Wood is married to Judge William Wood. Judge Willima Wood was
Ratekin's supervising judge and had even already recused from this case. Andrea told me that
she and her attorney were aware of this conflict of interest and initially gloated about it.

Exhibit E

Ratekin transcripts - First day within minutes Ratekin said Bryce was likely going into a
residential home. Zero evidence to support this and Ratekin had just been given the file that day
per the Register of Actions.

Exhibit F

District Attorney Investigator Luis Pena even said that I had a reasonable reason to protect my
son from these criminal thugs trying to place him in a facility with zero evidence. Here is an
excerpt from that transcript.

Exhibit G

Peremptory challenge. This was filed timely and before orders were made and were required to
be put into effect. There is a clear 9th circuit precedent to overturn this egregious state violation.

Exhibit H

Ratekin transcript - The last day Ratekin heard the case because she finally recused after six
months of trying to child traffic my son into a facility for profit, divorce leverage, and cronyism.
Simply because Bryce was at Starbucks and not in first period, Ratekin quickly said that this was
the problem with the case all long and Bryce belonged in a facility. The only people who have
ever said that are Ratekin, Matt Cord (the minor counsel who rubber stamped this lunacy after
only meeting Bryce 2x for about a half hour), Catie Young (minor counsel for my daughter. I
could not believe it when Catie Young said to me, why don't you just let them place him in a
                                                                                                 95




facility!), Jesse Olague, the hired gun out of insurance network psychologist who works across
the street from Dave Schulman.




Exhibit I

Between the first day Ratekin took the case, and the last day when she finally recused, she
brought in minor counsel for my son, Matt Cord and Catie Young for my daughter. With only
meeting Bryce two times for a half hour or so, Matt Cord jumped on board with Patti Ratekin
narrative of a "facility. The emails between me, Matt Cord, Catie Young, Dave Schulman,
Andrea Schuck, easily show this colluded effort to get Bryce into a " facility". Schuck signed off
on this insanity out of resentment/divorce leverage and the rest of the family courtel players did
it for profit, divorce leverage and cronyism. There was never any evidence to suggest a facility
and you can see in these emails where I am trying to figure out why Ratekin and her hired hand
Matt Cord are trying to do this. Here are some of those emails.

Exhibit J

Emails of me trying to get a few psychologists and autism specialists to interview Bryce because
all the evidence, including Bryce himself, proves Bryce is more than competent to speak on his
own behalf.

Exhibit K

Deputy District Attorney Balerio even told Bryce how well spoken he is and that she would help
him have his voice heard in court. Here is an excerpt from that transcript.

Exhibit L

Dave Schulman, Andrea Schuck and Matt Cord all trying to stop me from getting psychologists
to interview Bryce.

Exhibit M

Dave Schulman threatening the San Diego Regional center with an injunction to prevent me and
my two children from therapy. Schuck was invited to go as well. Both Schuck and Schulman
prevented this because they could not have the truth coming out.

Exhibit N

03/30/21 hearing where Ratekin takes l 00% of my legal parental rights away with zero evidence
to do so in a clear effort to prevent me from getting therapy for me and my children.
                                                                                                  96




Exhibit 0

Heart attack information was provided to all interested parties several times simply asking for
remote access. This was during COVID where remote access was given to everyone anyways.

Exhibit P

The first day of trial transcripts showed how Ratekin was upset that Bryce's IEP case manager
(Trish Flemming) was trying to say that Bryce did not belong in a facility and was generally a
really good child. If anyone simply reads the transcript from the first day of trial, Ratekin simply
embarrassed herself and her bias was obvious.

Exhibit 0

First day of trial transcript that shows Matt Cord never even reached out to Bryce's IEP case
manager or anyone on Bryce's IEP team because I had already told him the entire team was
adamant that Bryce did not belong in a "facility". Matt Cord was just doing what Ratekin and
Schulman were telling him to do so he could play with the big boys.

Exhibit R

Excerpt from District Attorney Luis Pena who said that Matt Cord had simply lined up with
Dave Schulman and not in Bryce's best interests and to put something together against me.

Exhibit S

Bryce filed a TRO against Matt Cord

Exhibit T

Bryce filed a police report against Matt Cord

Exhibit U

The witness affidavit that Ratekin used to order supervised visitation. Ratekin should get
disbarred for this abuse of discretion. She was so desperate and had nothing, so she used a
witness affidavit of someone simply reporting fraud of the hired gun child psychologist who was
out of insurance network and worked right across the street from Schulman.

Exhibit V

Text message from Bryce's behavioral therapist (Charlie Aguilar) who knew there was
something wrong with this scenario and with Jesse Olague. Charlie Aguilar and Jesse Olague
worked at the same business, San Diego Kids First. When Charlie Aguilar is called under
subpoena and the evidence that he knew there was something wrong with what Dr. Olague was
doing, it is irrefutable. Oh, yeah, audio recordings back this up.
                                                                                                   97




Exhibit W

My letter I provided from my therapist regarding Ratekins request for a psychological
evaluation.

Exhibit X

Schucks letter regarding her mental issues and the likely reason why she has always had a
strained relationship with our son.

Exhibit Y

Email from me to Schuck to keep Bryce in public school. Andrea Schuck, David Schulman, and
Matt Cord would simply not agree to a stipulation that they could not pick up Bryce from High
School per Bryce's requests and because I did not want these fraudsters to grab him and continue
to harass him and place him in a facility like Ratekin had planned from her day one of taking the
case.

Exhibit Z

Andrea Schuck emailed Trish Fleming about the facility. All the prior emails are very clear
about me trying to prevent a " facility" and trying to get evidence to the court that a "facility" is
not warranted. I was begging my x wife to help me to prevent this, but she was clearly on board
with it but would not put it in writing as this email shows. The only reason Trish Flemming was
brought in was to tell the court that Bryce did not belong in a facility and everyone at the school
knew this. Schuck was upset that the school was commenting on the fact that Bryce clearly did
not belong in a facility.

Exhibit AA

My email to Schulman agreeing to most of his divorce terms but simply adding, Bryce can' t be
placed in a facility .

Exhibit BB

Andrea transcript recent about putting Bryce in Juvenile detention if he simply did not want to
live with her. Bryce has lots of family and friends that love and support him and this is just how
resentful and bitter Schuck is. Bryce has been with his mom for over a year now and he is sad,
angry, confused and lonely. Bryce wants to go home. He will be 17 in a few days. Please let
him go home.

Exhibit CC
                                                                                                  98




Transcript excerpt where Schuck made a deal with the DA that Bryce could go home if I pleaded
guilty to felony custodial interference. The DA fabricated a threat after a year of inaction
because they knew they would lose at trial, so they held me on no bail for 90 days to coerce a
guilty plea. There is a federal lawsuit to force the DA to honor the plea agreement where Brye
can simply go home.

Exhibit DD

The Andrea transcript saying that she was only entertaining the idea of giving custody of Bryce
back to me is because Bryce living with her was not good for our daughter.

Exhibit EE

Emails to all interested parties leading up to the trial where I was simply ignored.

Exhibit FF

Ex parte same day of trial giving court all my medical docs and ADA for a simply requesting a
remote hearing where I could finally bring my evidence and witnesses. It was denied just like all
my evidentiary hearings in both the family and criminal court. There is a habeas corpus at the
CA Supreme Court and two federal lawsuits concerning these matters. I don't have confidence
in the state court to correct this manifest injustice and will have to likely wait until I have
exhausted my state remedies and can move onto the 9th Circuit.

Exhibit GG

Motion to Vacate Default Judgment Under CCP 473(b). This exhibit contains my original
request for order filed on July 20, 2022 seeking relief from the January 24, 2022 default
judgment under CCP 473(b), along with supporting documents filed concurrently. The original
RFO alleged improper service, mistake, surprise, excusable neglect, and attorney fault as
grounds for relief. It detailed misconduct and bias by Commissioner Ratekin and Judge Alksne
that resulted in entry of default against me during incapacitation following my heart attack. My
amended RFO filed on August 15, 2022 supplemented the facts and expanded upon details of the
alleged judicial misconduct but involved the same core issues and events. During the Feb 22,
2024 hearing on these motions, Judge Robinson denied relief solely based on the August filing
date of the amended RFO exceeding the 6-month deadline under 473(b). However, under the
relation back doctrine, my amended RFO relates back to and is deemed timely based on the
original RFO filed within 6 months of the default on January 24, 2022. By focusing only on the
amended version's filing date, judge committed a reversible error and failed to assess the merits
of my original timely request. Denying relief without evaluating my original RFO under CCP
473(b) incorrectly applies the law on relation back of pleadings. The fact remains anyways that
 CCP 473 (d) still applies due to the clear collusion and fraud committed on the court and as such,
 I have filed a criminal complaint with the appropriate parties under title 18 U.S.C 241 and 242.

Exhibit HH
                                                                                                  99




There is simply zero evidence to support keeping a loving and dedicated father from both his
children. This is/was malicious retaliation of a whistleblower. There is a presumption of fitness
of parents that Ratekin simply blew past due to this clearly fraudulent scenario and I therefor also
have filed a Title 18 U .S.C 241 and 242 for criminal conspiracy against Patti Ratekin, Dave
Schulman, Matt Cord, Catie Young, Andrea Schuck, Sarah Bear, Loma Alknse, Jesse Olague,
Alana Robinson. Shame on all of you and mostly my x wife who I never would have allowed
the likes of you to treat her the way I have been treated. I consistently said 50/50 with the
children going back and forth on an as needed basis and even invited my x wife to the first
Christmas we were divorced and two Disneyworld Vacations that we had always planned on as a
family.

II
Bryce Emert, who is almost 17, is begging to be heard and simply wants to come home. Here
are his letters and emails to people.
                                                         100




Exhibit A

3 FCS reports saying 50/50 and I initially was granted
60%. Two Judges, 3 FCS reports, and 2 FCS child
interviews make this determination. This went on for
about two years before Ratekin took the case. Many
offers were made by me for simply 50/50 with the children
being able to go back and forth between our homes on a
as needed basis.
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                      SUPERIOR COURT OF SANDIEGO
                              FAMll.        COURT        SERVICES
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                                                                                     of thoSuperiorCourt
                                                                                                           D
   of Sao
                                       December 1 0 ,   2019                      DEC 11 2019

                          DATE OF HEARI NG : December 20 , 2019


  TO :             Department 17                                            19FL010852N
                   Honorable Kelly C . Mok

   FROM            Liliana Rodriguez , MSW ,        Counselor
                   Family Cour t Services

                   Supplemental Report

   OF :            Bryce Emert , DOB : 06/ 11/07 (Age 12 year s ) (M)
                   Skylar Emert , DOB : 06/06/09 (Age 1 0 years )  ( F)


                   Father : Andrea L . Emert
                   Father: Robert Emert

   On October 15 , 20 1 9 , Andrea L . Emert and Robert Emert , parents o f
   the above-named mino r      c hildren, participated in a Family Court
   Services confe rence i n thi s office .    The conference was con ducted
   jointly.    Andrea L. Emert i s the moving party.      The Court directed
   the pa r ties to pa rti cipate at Family Court Se rvi ces .

   On November 19 , 20 19 the cou rt ordered the undersigned to provide
   updated CWS information . In addition , the unders igned was to speak
   to Bryce ' s sch oo l coun selor, Cecilia Bre nning, and a ny per sons Ms .
   Brenni n g believed to be appropriate .

    There are two Child Welfare Services referrals.
     Date    Allegati o n (s )          Alleged perpetrator (s )                Concl usio n
      11/4/19      Physical abuse to Bryce              Father                  Unfounded
                   physical abuse to Bryce              Mother                  Unfounded
                   e motio nal ab us e to Bryce         no perpetrator listed   I nconcl u sive

                   Emotiona l abuse to Sk yl ar         parents                 Unfounded
                   At r i sk of abuse to S k ylar       father                  Unfounded

      10/2 4/1 9   Emotional abuse to Bryce             parents                 Unfounded
                   At r i sk of abuse to Bryce          father                  Unfounded

                   Physica l ab u se to Skylar          father                  Unfounded
                   Emot i ona l abuse to Skylar         pare n ts               un f ounded
                                                                                    78        102
                                              RE:      Ernert/Eme r t /   l 9FL 01085'.:: N
 Department        17
 Family Court Services Repo rt Dated December l0r 201 9                            Pag e 2

On December l0r 2019 the unders igne d s p o ke to school counse l or ,
Ceci lia Breining. Ms . Bre ining indi ca ted that si nce the divorce she
ha s see n mo re e mo tio na l i ssues in Bryce . Bryce has mo re behav io r
issues , s uch as blurting o ut , making no i s e s , and other behavio rs. In
addition , he ha s had mo r e difficulties with friend s . His grades ha v e
dete riorate d since the separation a nd the number of a bsences have
i nc r e a sed . This s c hoo l yea r there have been five whole day absences .
The partial absences are f o r the most part no t related to illness .

 Ms. Breining indicated that it was impo rtant that s he remain neutral ;
 thu s , as directed , all conversations are with b o th parents a nd emails
 are sent t o b o th p a rent s . The child does not speak about his parents ,
 except to repeat advice the y give him on handling situation s . He
 s p ea ks more o f h is fathe r but d oes not s p e ak negative ly o f either
 pare nt . The schoo l p s ycho logist is meeting with him to build coping
 s kill s related t o fri e nds hips . The c h ild a l so h as a case manage r
 that supports hi s academi cs through hi s Individual Educa ti o n Plan.
The counselor indicated that las t year Bryce had two s pec ialized
c las ses . '!'his year h e has all typical c la sses with s uppo rt . Ms .
Breining was asked if there we re other perso n s s he felt may be
impo rtant for the undersigned to gat her informat ion from. She stated
that all ' wo uld prov ide the same information. Thu s , she did not.

Grades c urr e nt school year             73 schoo l da y s
 1st      2nd        As o f                Absen ces Late
 grading grading     12/10/1 9
 peri od  p e rio d
 D-           B-                            10                6
                                            s                 l
C
                            D-                8

              c-            e-                9

              PASS                            ll


Gr ades   for       6th Grade
 1st            '.: nd                        Absences         Lat e
 Semester       Semeste r
c-                                            23                  ll
                                              19                  4
                                                  14              3
                                                9                 2
 C

A-              B-                                lO              2
B-              C

C
                                                  10              2




                                        -2-
                                                                            79
                                                                                 103
Dep artment 17                        RE: Emert/Emert/ 19FL010852N
Family Court Services Report Dated December 10 , 2019        Page 3


                                                   pectfully   ubmitted ,
                                            4Cuaadd .
                                                 Iliana Rod r iguez , MS
                                                Fami ly Cou rt Counselor
                                                760-201-8300
 Cc :   Andrea L. Emert , Fathe r
        Robert Emert , Father
        David S . Shulma n , Attorney
        T i mothy S . Mi randa , Attorney




                                               -3-
                 SUPERIOR COURT OF SAN DIEGO 1 L E D
                     FAMILY COURT SERVICES  F... ....                             e.,.111Ct111


                                 December 10 , 201 9                        DEC 11 2019
                     DATE OF BEARING : December 20 , 2019               &r-L   YJ.               _.QI/I

TO:           Department 17                                        19FL010852N
              Honorable Kel ly C. Mok

FROM :        Liliana Rodriguez , MSW , Counselor
              Family Court Services

RE:           Supplemental Report

OF:           Bryce Emert , 008 : 06/11/07 (Age 12 years) (M)
              Skylar Emert , DOB : 06/06/09 (Age 10 years) ( F)

              Fa t h er : Andrea L. Emert
              Father: Robert Emert

On October 15, 2019 , Andrea L. Emert and Robert Emert , parents of
the above-named minor children , participated in a f'ami l y Court
Services conference in this o ffi ce . The conference was conducted
jointly . Andrea L. Emert is the moving party . The Court directed
the parties to participate at Family Court Services .

On November 19, 2019 the cou rt ordered the undersigned to provide
updated CWS information. ln addition , the undersigned i,1 as to speak
to Bryce's school counselor, Cecilia Urenning, and any persons Ms .
Brenning believed to be appropriate.

There are two Child Welfare Ser vices referra l s .
 Da te        All egation (s )                Alleged perpetrator (s)    Co n c lusion
 11 / 4 /19   Physical abuse to Bryce         Father                     Unfounded
              physical abuse to Bryce         Mother                     Unfounded
              emotional abuse to Bryce        no perpetrator listed      Inconclusive

              Emotional abuse to Skyla r      parents                    Unfounded
              At risk of abuse to Skylar      f ather                    Unfounded

 10/24/19     Emotional abuse to Bryce        parents                    Unfounded
              At risk o f abuse t o Bryce     father                     Unfounded
              Physical abuse to Skylar        fathe r                    Unfounded
              Emotional abuse to Skylar       parents                    unfounded
                                                                            n
    Depar tment 17                           RE : F:mert/Emert /    1 9FL0108521'1 85
    fami ly Court Serv i ces ReporL Dated December 1 0 , 2019              Page 2

 On December 10 , 20 19 the unders i gned spoke t o sch o ol c ounselor,
 Cecilia Breining . Ms . Brei ni ng in dic ated t hat since t he divorce s he
 ha s see n more emo ti onal issues in Bryce . 0ryce has mo re behavior
 i ss ues , s uc h as blurting out , making noises , and o th e r be havio r s . I n
 addi tion , he has h ad more d iff icu l ti es wi t h f r iends . Hi s grades have
 de t erio r ated s ince t he separa ti on and t he numbe r of ab se nces have
 in c r eased . Thi s schoo l yea r th ere have bee n f ive wh ole da y a bse nces .
 The part i a l a bse nces a r e fo r the most p a r t not r elated to i l ln ess .

 Ms . Br e ining ind icate d that it was i mpo r t ant that sh e remain neutral ;
  th us , as directed , a l l c o nversatio ns are wi th bo t h parents and email s
 ar e s e nt t o bo t h pare nts . The c hild does not s pea k about hi s parents ,
 e xc ept t o repeat adv ice they give him o n ha nd ling situati ons . He
 s peak s mor e of his fat he r but does not spea k negati ve ly of ei t her
 parent . The school psycho l og i st is meeti ng with him t o build coping
 s kill s r e lated t o fr i ends hips . The c hi l d a lso has a case manager
 that s uppo r t s h is a c ade mi cs thro ugh hi s Individu a l Educ ati on Pl an .
 The c o unse l o r i nd ica t ed that l ast yea r Br yce ha d two specialized
c la ss e s . Thi s year he has a ll typ i c al c lasse s with s upport . Ms .
Br eining was aske d i f t h ere we r e o the r p erso ns she fe l t ma y be
imp o rtant f o r the un de rsigne d t o gather inf o rmation fro m. She s tated
t hat all wo u ld pr ov i de t h e same info rma ti on . Thu s , s he d i d no t .

Gr a des cu rre nt schoo l yea r             73 school da ys
 1st        2nd       As o f                  Absences La t e
 grading grading 12 /10/1 9
 perio d    p e ri od
 0-         B-        B                          10        6
 C+           D+        D+                       8         1
 C            D+        D                        7         1
 F            D+        0-                       8
 A-           c-        c-                       9
 C+           PASS      B-                       11


Grad e s f o r 6 t h Grade
 1 st          2nd                               Absences La t e
 Semest e r    Se mester
c-             D                                 23        11 1
A              A-                                19        4
B              B                                 14         3
C              B-                                9          2
A-             B-                                10         2
B-             C
C              B                                 10            2




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                                                                             73
                                                                                  180
De part ment l 7                            RE : Eme rt /Eme rt/ 19FL010852N
Famil 1 co ur t Ser v ices Re porL Dated Dec ember 10 , 2019           Page _}_


                                              ~~y              ·ubmitted ,
                                             CJ?Jt1iana Rodriguez, MS
                                                Family Court Counse lor
                                                760-201-8300
 Cc :   Andrea L. Eme rt , Fathe r
        Rob e rt Eme rt , Fathe r
        Da vid S. Shulman, Attorn e y
        Timothy S . Miranda, Attorney
                                                                                                              1M



                      SUPERIOR COURT OF SAN DIEGO
                                   FAMILY COURT SERVICES
                                        Nov e mbe r O l,   20 : 9

                                                                                             NOVO 4 2019

                          DATE OF HEARING: November 20~ 2019
                                                                                       erJli--c.t

TO :            Depa rtrr,e nt : 7                                                     19FL010852N
                Ho n o rab '.e Ke l :y C . Mo k

fR OM:          L1 l i a n a Ro d r i guez, MSW,      Co u nselo r
                1-·a ri, 1:y Court Ser v ic es

IW:             Pare nt i n g P l a n

Of:             Bry c e F:mc r':., DOB: 0 6 /1 1/0 / (Age :2 y ea,·s) (M)
                SJ.:yla r Eme 1L, cor, : 06/06/ 09 U\ge l C y ears) ( ~')

                F'a':.her : Andr e a I. . Em e r t
                fa:he r : Ro b er t Emer l


On OcLober l 'J, ;:> 8 ; CJ , Ar:di e a L . r fl' e r t a ri d Ro b e r ':. ~·me rt , p a ren s o f
Lh e abo v e r.a med min o r c hil d ren , part i c .:.pcHed i n a r a mil y Co u rt
Se rv i c e s c o n f erenc e 1n th t s o f f i c e .   Th e conf e r e nce ,i as con d u ced
jo i r. Ll y.   An d r e a L. Eme 1t i s :.h e mo vi ng party .            Th e Co u r t d irec:. e d
Lh e pa r l ies Lo pa rt :c: pa l e al Fami l y Co ur t Se rvi c es .

DOMESTIC VIOLENCE

Al t h o cgh t h e r e a r e a l l eqa:.i o ns o f d ome s :.i c v :o~e n c e 1n :.h1s c a s e ,
th e pa r er:ts i nd i c a t. ed : h e 11 desi r e t o par L 1 c i pat e t o g e t her .   T he
un d e r s i g n ed  int e rv ie we d  lt1e   pa r enls   s e p a 1 ate '. y to a ss ess   t he
appr o p r ia: e n e ss o f a co n JO1 nt s e ss io n ar. rl de ter min e d t hat i': wo u ld
b e app r o pr : at e t o p r oceed .

FAMILY COURT SERVICES HISTORY

T h.:. s 1 s : li e pa r :ie s '   : i 1st   con f e1e nc e at Fa mi l y Cou r l   Se 1v .:. ces .

PARENTING PLAN

T he par enrs do r:o l         h a ve a co un o r d e r e d pa r e nt ir:<J p l an .




                                        CONFIDENTIAL REPORT                                 F,n,'y Cc.io • Y.fl'S !>
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Department 17                              RE: Emert/Emert/ 19FL010852N
fa mi ly Court Services Re port Dated No v e mber 01 , 20 19      Page 2

The parent ing plan as described by each parent is as f ollows: t he
f ather ha s been t he children ' s primary care gi v er for the past five
years wh i l e the mother has been employed as a tea c h er.

DEMOGRAPHICS (historical)

The parents were marr ied on 9/30/06 .
The parents fi l ed for dissol ut ion in September 2019.

DEMOGRAPHICS (current)_

Andrea L. Emert and Ro ber t Emert res i de in the San Marc o a rea of San
Diego Coun ty, California.    Also residing in the home: the c hildr en
a t issue. Andrea L. Emert is e mplo yed, schedule : 7: 30 AM to 3 PM as
a school teacher. Rober t Eme rt is unemployed.

Th e pare nts indicate t hey hav e     requested the court de ter mine who
wi l l remain i n t he family home.

AREAS OF AGREEMENT/DISAGREEMENT

The pa ren ts ' points of agreeme nt are as foll o ws : shared lega l
cus t od y, al t ernate holidays , a va catio n schedule, f o r ther e t o be n o
a l cohol consu med during their parenting t ime, and f o r the chi ldren
t o participate in ther apy. They agre ed for t he father t o parent the
chi l dr en wh en th e mot he r is worki ng a nd the c hild ren are on sch oo l
break.

Th e y did not agree a t he parent i ng schedule .

PARENTS' CONCERNS

Ther e are al l ega t io n s of domestic v iole r. ce,   s ubsta nce abuse,   and
menta l illness in t h is ma t te r.

Andrea L. Emert e xp ressed the fo l l ow i ng concer ns: the father engages
in arguments in front of the c hi l dren and pul l s t hem i nt o a r g uments
by asking th em their op i n ion on the issue s be i ng argued, d eterm i ne
who i s correct, and a~k 1[ Lhe y hedrd what was said . He has t ol d Lhe
c h i l dren that Bryce •..ii ll be in his custody 100% of t he time and
Skylar will be i n h i s care 50% o f the time. The fat her drinks heavily.
He drinks a bottle of wine ar.d a coup le o f bee rs nightly and a lway s
when she 1s home . He slopped drinking wh en she fi led the present
pe t ition. He has no dri vir. g under the ir.fl uence arrests .

Th e falhe r denied t he mother ' s e xpr essed co ncerns regarlling h is
alcoh o l consump tion . He stated t hat t hey bot h argue in front of t he


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Depar tment 17                          RE: Eme r t/Emert/ 19FL010852N
Family Court Ser v ices ~eport Dated November 01, 2tl9           Page 3

children . He answers.t h e children's questions regarding divorce with
the information he knows.

Robert Emert expressed the fo l lowi ng concerns: The mothe r's
emotional state, stating that she has been prescribed medi catio n for
depression and anxiety for years. She "f lies" of the handle and
yells. She has chased him around t he house and placed her ha nds on
the c hi ld ren years ago.

The mother denied the father's c la ims . She reported pa rti cipating in
therapy.

PARENTS' PROPOSALS AND RATIONALE

Andrea L. Emer t proposed t he fo llowing parenting schedule :            to
pro v ide the children wit h their primary residence an d the fa ther
parent one Wednesday o v ernight and a l ternate weekends . She wants an
opportunity to establish a relationship with Bryce . She would foster
t he children ' s independence . Additi·onall y , she is the more rel i able
parent.

Robert Emert proposed the fo l lo wi ng parenting schedule: He requested
Skyler be shared equal l y. He requested Bryce be shared equally after
the father ha s a period of time to assist the child ad Just to the
sched u le. The father was asked if he would agree to a t hree - mon t h
ti me to h elp t he chi.ld adjust prior t o t he equal t ime parenting
sch e duled. He was agreeable.

THE CHILDREN

Both parents denied t he children have any unmet             health,   mental
health, developmental concerns or special needs.

The parents i ndicate that Bryce is Autistic. He part icip ates in
general educat i on. He is able t o communicate and has friends. The
parents indicate t hat he is able to take care of his self-care with
some prompts . The mother stated that the father help s the ch i ld bathe
a rid dress. The father indicated that he assists the c hil d by laying
oul his washcloth, setting out ch i s clo t hes, and ensuring t he c hi l d
has ri n sed properly. The father and Bryce ha ve shared a bedroom since
the child was the age of three. He assists Bryce with his ho mework
while the mother assist Sky la r . The parents ag ree that Bryce and the
father ha v e an extremely c l ose relationship. The mother feels the
father has pushed her out of that relations h ip by i so l a t ing h i mse l f
and Bryce in the bedroom. Bryce participa t es in karate three times
weekly .



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Depart ment 17                           RE : Emert/E mert/ 19FL010852N
Family Co u rt Services Report Dated No vember 01 , 20 1 9        Page 4

Skylar 1s enrolled in the Sth grade. She has no spec i al needs. The
child participates in extra-cu r ricular activities to include soccer,
theater, and voice lessons . The mother reports the child ha vi ng a
much closer relationship with her than the f a ther . They do activities
toge t her and at times share a bedroo m. The mother stated that the
siblings do not have a c l ose relationship beca use the father isolates
Bryce . The father disagreed, stating that Sky l ar has an eq ual l y good
relat i onship with both paren t s and the sib l i ngs love each other.

The childre n were not interviewed.    Information gathe r ed from the
parents was suff i cie n t to make a determination of the children ' s
current experiences and functioning.

REASONS FOR RECOMMENDATION

The pa r ents were able to reach substantial ag r ee ments and they wi l l
be incorporated into the reco mmendation. The pa r ents de s cribed a
ma r i t al relat i ons h ip that ended nine years ago. I t see ms as if t hey
cohabitated bu t l ive separate l y. The father and Bryce have an
extremely c l ose relat i onship whi l e the mot her has a closer
relationsh i p wit h Sky l e r. It appears as if the h ousehold was divided
by gender.

The mother expressed concern wit h the father involving the children
in the parents ' a r g ume nts a nd co n flicts . Addi tiona ll y , he has spo ken
to them about possib l e parenti ng schedu l es. The father acknowledged
both parents argued in front t he children and exposed them to their
confl i ct . He a l so ac know] edged speaking to the ch ildren about
possib~e parent i ng plans. The father expressed concern wi th t he
mother being v io l ent and chasing hi m about the house. The mothe r
denied his clai m. The parents ha v e been emotional l y separated for
many years a nd li vi ng together caused a great deal of stress and
con fl i ct. It is t he hope of the undersigned the pare n ts wi ll be able
to establish sepa r ate residences soon and co-parent . The undersigned
recommends the pa r ents par t icipate i n a co-parenting class and
recom mend s they communicate via a child sharing app l ication.

The undersigned is of the impressio n that bo t h parents are capab l e
of caring for the children and meeting their needs . Thus, it is
recommended the parents share t h e care of the children. The
undersig ned agrees Bryce needs a litt l e t im e to ad j ust to being away
f rom the fat h e r. Thei r r elat i ons h ip seems almost e mo t iona l ly
dependent. Bryce has shared a bedroom with the father since the age
of three . The pare n ts reported the mother rare l y spends time on her
own wi th Bryce. Th u s, it is recommended Bryce be i n the mothe r ' s
care a l ternate weekends and one o vernight weekly prior to joining
his sister's schedule .
                                                                                        1n

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RECOMMENDATIONS FOR THE PARENTING PLAN OF:

      Br yce Emert, DOB : 06/11/07 (Age 12 ye a rs)
      Sk yl a r E:mert , DOB : 06/06/09 (Age 10 year s )

      Fat her : l\ ndrea L. Emert
      Fat her : Robert Eme r t

1.    LEGAL CUSTODY

      A. Anel r ea   L.   Emert   anti   Rebert   Emert   shall   share   J o i.n L l eya l
         c ustod y, which mea ns that Andrea L. Emer t and Robert Eme r t
         s h a ll share the right a nd responsib i lity to make dec i sio ns
         relati nq to the health , ed ucatio n , a nd we lf are o f Lhe i r
         c h i l dre n a nd consult each other regardi ng enrollment and
         disenrol lm ent in sc hool, begi nning/ending mental health
         ser vi ces a nd se l ection or changes of a doctor, rlentist or
         o t her health pro f ess i ona l.
      B. Each parent shall ha v e access to medical and school records
         pertaining to the children and may consult wi t h any
         professionals i nvolved with the children .                It is each
         parent's        responsibility     to request      school    calendars,
         progress         reports,     report  cards     and      parent-teacher
         conferences djrectly from the school .
      C. Eac h pare n t may obtain e merge ncy hea l t h ca r e for the ch il dren
         wit hout the consent o[ the oLher p~ren t . 8ach parent j s to
         notify t he other parent as soon as r easonably possible of
         a n y ill ness req ui r i ng medical attentio n or an y emergency
         inv ol vin g the chi l d r en .

2.    PHYSICAL CUSTODY

       A. The children's physical custody shall be shared.
       B. The pare nt i ng o f Bry ce s hal l be sh a re d as f o l lo ws :
        i)   The mother shall pare n t alternate weeke nds . The weekend
             shall be defi ned as 8 AM Friday to 8 AM Monday.
      ii )   Bry ce s ha l l be in Lh e care of the mo th er each Tuesday f r om
             a fl e r sc h ool/8 AM to d r opp i ng of at sch oo l /8 AM Wednesda y.
     iii)    Afte r the mother parents in accordance with 2Bii for-9..Q
           ~ ays, the mother's mid week parenti ng shall be defined as
            o -~MMo nda y t o 8 AM Wedne sday.

      C. Th e p are n ti ng of Skylar s hal l be sha r ed a s f ollo ws:
       i)    S kylar shall be i n the care of the mother from 8 l\M to
             Monday to 8 AM Wed nesday and wi th t h e father fro m 8 AM
             We d nesday t o 8 AM Friday .
      ii)    Th e weeke n ds s h all be alternated bet wee n th e pa r e n ts a nd
             d e fin ed as 8 AM Fri day to 8 AM Mond a y.

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    3.   HOLIDAYS/SPECIAL DAYS/SCHOOL VACATIONS
    Special Days/holiday sc hedules shall take            precedence o v er the
    reg ula r parenting sc h edule , whi c h shall res ume after the hol i day is
    over. In a bsenc e of other agreement by the parents, specific holiday
    schedules s hal l b e as fol lows:

 HOLIDAY           TIME                  EVERY YEAR       EVEN YEARS   ODD YEARS

  Christmas        9 AM 12/24 to 9                        Mother       Father
  Eve              AM 12/25
  Chris tm as      9 AM 12/ 25 to 6                                    Mother
                                                      l fdthec
  Day              PM 12/26
  New Year's       Eve 6 PM - Day 6                       Moth er      Father
I Ev e/Day
I Easter Da y
                   PM
                   8 AM - 8 PM                        I Father         Mother
I Mothe r's Day    8 AM - 8 PM           Mo the r     I
! Father's Day     8 AM - 8 PM           Father       I
I July 4th         8 AM until 10 AM
                   July 5
                                                      I   Mother-      father

I Halloween        4 PM - 8 PM                         I Father        Mother

I
 Thanksgi vin g
 Day
                   8 AM - 8 PM                        IMot her         Father

 Children ' s   8 AM - 8 PM; or                   Father-       Mother
 Birthdays      if a sc hool day
                from 6 PM to 8 PM
 Three- day weekends not specified in the chart above sha l l be spent
    with the parent who woul d normal l y ha ve tha t weeke nd and t he
                weeke nd s hall be extended by 24 hou rs.

    4.   VACATIONS/SCHOOL BREAKS

         A. Either p arent ma y v acation or ha ve e xtended time with the
            childre n each year for up to two weeks. The vaca t ioning
            paren t shall notify the other parent in writing of their
            v acatio n plans a minimum of 30 days prior to departure and
            pro vi de the other parent with n basic itinera r y to incl ud e
            dates      of   d epa r tur e ar.d return,  destinations ,   flight
            in f o rm ation dnd te l ephone numbers for em erger.cy pu rp oses .
            The vacationi ~g pare n t shal l not schedule the v acation during
            the other pare nt' s scheduled hol i day t i me with th e childre n,
            unless agreed upon in adva nce by both parents. The vacat i o n
            shall not interrupt school atte ndance un less mutual ly agreed
            upon by the parents ar.d schoo l personnel .




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5.   EXCHANGES/TRANSPORTATION

     A. Exchanges of the children, when they do not take place at
        school/childcare shall be at the sending pare n t ' s residence.

6.   TELEPHONE/COMMUNICATION

     A. There shall be reasonable telephone contact between the
        children and the parents when in the other parent's care.
        The purpose of the phone ca ll shall be to comm unicate with
        the children. All other business between the parents shall
        be discussed at another ti me .

     B. Al l non-emergency a nd non-time sensiti v e communicatio ns
        sha l l be in writing and sent via a child sharing app licat io n,
        such as Talki ng Parent s , Our Famjly Wizard or another
        mu tually agreed upon.

7.   CONDUCT/SAFETY

     A. Neither pare n t shall make negat i ve statements about t he other
        in t he presenc e or hearing of t he ch ildren or q uestion the
        children about      the ot her parent.       The parents     shall
        communica te directly wit h each other in mat ters concern ing
        the c hi l dren and shal l not use t he c hildren as a messen ger
        between them . Th e children shall not be exposed to court
        papers or disputes between the parents, and each parent shall
        mak e every possible effort to ensure that o ther people com ply
        with this or der.

8.   NOTIFICATION

     A. When either parent wishes to t rav el wi th the c hildren outside
        the County of San Diego for o ve rn ight or longer during their
        parenting time , the other parent musl be given 24 hours prior
        n o tice of date and time, destination and an emergency
        tel eph one number.

     B. Eac h parent shal l always keep the o ther informed of his/her
         address and t e l epho ne numbers and shall notify the other
         parent withir. 24 hours of ar.y changes. Neither parent may
         11sP. s 11c:h j nformation fo r the purpose of har assi ng, annoying,
         dist urbing the peace of the oth er or invading the other ' s
         privacy.
     C . If the children participa t e' in a n AM/PM prog ram , cclmp or
         cared for routinely by a childcare provider, the parents
         shall keep or.e another informed of those programs, addresses
         and telephon e numbers.

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     D. Should either parent require chi l dcare for more than 8 hours
        or overnight while the children are in his/her physical care,
        the other parent shall have first o ption to provide such
        care.

     E. At least 24 hours notj ce of any schedule change sha ll be
        given to the other parent. The parent requesting t he change
        shall be responsib le for any add i tion a l child care th a t
        results from t he change.

     f. Neither parent shall mo ve the res id ence of t he children out
       of Sa n Die go Co unty wi th out giving the other parent a 45-day
       advance writ ten noti ce and obtai ning the other parent's
       wr i tt e n permission prior to the move or an order of the Co urt
       granting t he mov e.

9.   CLASSES/PROGRAMS

     A. Andrea L . Emert and Robert Bmert shall enroll in and
        successfully complete a co-parenting course.      The Cou r se
        shall specifically focus on parenting skills for divorced
        parents. The course shall be completed by Marc h 30, 2020.

     B. Th e ch i ldren sh a l l participate i n cou nseling with a lice nsed
        mental hea lt h practit ione r until rele as ed by the therapis t .
        The parents shal l coope r ate and participate i n the children's
        th era py at the discretion of the therapi st.          Issues to be
        ad d ressed include: adju s tmen t to new fami ly dynamics, grief-
        loss , and any other issues iden tified by th e parents and/or
        therapist.

       Possible resources includ e : private i nsurance; call 211 fro m
       any pho ne; or a Prog r am Resource List ma y be obtained at
       Fami ly Court Services or on the San Diego Superior Court
       website www.sdcourt . ca . gov.




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10 .   SUBSTANCE USE/MONITORING/ASSESSMENT/TREATMENT

       A. Andrea L . Emer t and Robert E:m ert s h all refrain from using
          alco h o l d uri ng the t im e the childre n are in hi s/ h er care .:i n d
          for 1 7. ho ur s prior to spen d i 11 g time w i L h the ch i.l dre n.




Cc :   Andre a L. Emert , Fat her
       Robe r t f.me rt, ~-a t he r
       OaviJ s. Sh ulman, A ttor ney
       Veron i ca M. Aguila r, A t t o rney




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 I..__c_o_N_F_m_E_N_T_IAL_,_RE_Po_R_T_co_VE_RS_HE_E_T__]
The Family Court Services Report attached hereto is CONFIDl'.NltAL.
Monetary Sanctions
By law, the court can impose a penalty (i.e. sanction or fine) ford:e1.m:nrranteddisclosure of
the contents of thi, confidential Family Court Services report. Tlls monetary penalty can be
ordered against the disclosing party in an amount that is large eno1191 to prevent that person from
disclosing infonnation in the future. The sanctions may also incblc reasonable attorney fees,
costs incurred, or both.
Aca91 to tkil Report

Punuant to Family Code §§ 3025 .S and 3177, as the party R ) C e ~ this report, you may .not
make thi.1 report available (including but not limited to showing, discus.,ing, forwarding) to
anyone other than the following:
    I. The parties and their attorneys (including attorneys from wom the parties seek legal
       representation) and attorneys appointed to represent the cUd (I .e. Minor's Counsel);
    2. Others authorized after court orders are mued making sud1 disclosure permissible.
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              SUPERIOR COURT OF SAN DIEGO
                      FAMILY COURT SERVICES
                              Ja nuary 13 , 2020

                                                                JAN I S2021
                  DATE OF HEARING : Februa.=Y, 4, 2021     By:_,,<.,r-_, Cltrk
                                                             N.James


TO:       Depart ment D- 18                                   19FL010852N

fROM :    Lisa Boswell , MSW, Counselor
          family Co~rt Serv i ces

RE:       Parenting Plan

OF :      Bryce Emert , DOB : 06/11/07 (Age 13 years ) ( M)
          Skylar Emert , DOB: 06/06/09 (Age 11 years) ( f)

          Mot her: Andrea Emert
          fat her: Robert Emert


On December 16, 2020 , Andrea Emert and Robe r t Emert , parents of
the above-named minor children, participated in a family Court
Services confere nce in this office.   The conference was conducted
jointly .    Andrea   Emert    and    Robert   Emert    participated
te l ephonically. Robert Emert is the moving party.

DOMESTIC VIOLENCE

Th e parties denied any histor y of domesti c violence .

FAMILY COURT SERVICES HISTORY

This is the parties ' second conference at fa mily Co u rt Services .

The parties were originally seen at fCS in 20 1 9 . The Court i s
respectf ul l y referred lo p rior fCS memos for addi t ional historical
i n formation .


PARENTING PLAN

The parents follow the court-ordered parenting plan.



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Th e parenting plan as described by each parent is as fo l lows: Both
parents agreed that they practice joint legal and joint physical
custody at least since 2019 .

pEMOGRAPHICS (historical)

Th e parents were married on September 30 , 2006.
The parents lived together from 2006 - December 2019 .
The parents filed for dissolution in September 2019.

DEMOGRAPHICS (current)

Andrea Emert resides in the San Elijo area of San Diego County,
California  in a      two - bedroom home.     Andrea Emert is employed ,
schedule: Monday - rriday , 7 : 30 am - 3 : 00 pm.

Robert Emert resides in t h e Escondido area of San Diego County,
California in a four - bedroom home. Also residing in the home: the
pater nal gra ndparents and the paternal aunt .    Robert Emert is
unemployed.

AREAS OF AGREEMENT/DISAGREEMENT

T he parents ' points of agreement are as follows:        joint legal
custody, the holiday schedule , vacation t i me , the c hild exchange
location , the first rig h t of refusal, and to util ize a computer -
based email program for all communication.

The parents' points of disagreement are as follows:                the primary
residence for both c h ildren , t h e parenting time for           each parent
for both children , and p hone contact.

PARENTS' CONCERNS

There    are no allegations of domestic violence,   child abuse ,
substance abuse , mental illness , or criminal histories in t h is
matter .

Andrea Emert expressed the following concerns:    The mo t he r states
the father allows the younger child , Bryce , to be emotionally and
physically abused by the older c h ild , Skylar and Skylar should
h ave time away from Bryce .

The  father denied   t h at he al lows   the child,   Bryce,   to    be
emotionally or physically abuse by the chi l d, Skylar and that he
does not observe such beh avior when the children are in hi s care .




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Robert Emert expressed the following concerns:    The father states
the child, Bryce, is not emotionally stable in the mother's care.
He shared that the child's, Bryce, grades have gone from A's and
B's to C's and D's. He believes the child,          Bryce,  is more
emotionally stable and cared for when he is in the father's care.

The mother stated the child is struggling with virtual learning.
The mother does believe the father and the child, Bryce, have a
close bond , yet she denies the child is neglected in her care.

PARENTS' PROPOSALS AND RATIONALE

Robert Emert proposed the following parenting schedule : The father
is proposing the parenting time for the child, Skylar, remain
unchanged. He is proposing the child, Bryce, resides primarily
with him and the mother care for the child each week, from
Wednesday, after school until Friday, at morning school drop-off,
and that the parents both have "reasonable" phone contact with the
children .

The father reiterated that the child, Bryce, is not emotionally
stable in the mother's care and his grades are suffering, thus he
should resicie primarily with him. He believes both parents should
be able to reach out to the children on a reasonable basis and
there should not be a scheduled phone call order in place.

Andrea Emert proposed the following parenting schedule: The mother
is proposing the parenting time for the child, Bryce, remain
unchanged . She is proposing the child, Skylar , is in the father's
care every other weekend,     from Friday until Sunday, that the
parents each have one scheduled phone ca 11 a day between 7: 00 pm
and 8:00 pm for no more than 10 minutes.

The mother reiterated that the child, Skylar , needs to have a
"break" from her brother, Bryce , who has behavioral issues . In
addition, the father makes multiple calls daily and she believes a
phone call schedule should be instituted for both parents .

THE CHILDREN

Both parents denied the children have any unmet      health,   mental
health, developmental concerns or special needs.

Andrea Emert and Robert Emert shared the following factors , which
were important to be considered when developing a parenting plan:
Both parents reported the child, Bryce, is diagnosed with High
Functioning Autism. The child,    Bryce, has an active IEP for
learning disabilities .

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CHILDREN'S INTERVIEW

On December 16, 2020, the und ersigned interviewed the children.
Information   obtained   from  that   interview was  taken  into
consideration when developing the recommendations.

The undersigned interviewed both children while they were in the
father's care and both c hild ren were asked , individually, if there
were in a room where they could speak privately where no one could
hear them speaking with the undersigned. Both chi ldr en replied
they were in private rooms.

Bryce is a 13 -year old who is in the 8 t h grade at San Elijo Middle
School. He shared t hat he enjoys his AVID class and does not en j oy
ma th. He c u rrently is at tending Karate, which Bryce said he had
been participating in for the previous six years. He stated he
enjoys playing video games.

The child confirmed he spend s equa 1 time with each parent. Wh e n
the child was asked to share how this plan is working, he replied,
"Not working too well." Bryce explained that prior to the parents '
divorce, he spent the majority of this time with his fat her and he
has a c lose relationship with his f at h er . He asserted that when he
is in the mother's care, the mother controls his ability to speak
with the father . He further asserted that he feels t hat whe n he is
speaking with the father , while in the mot her's care , the mother
"for ces him off the phone". He de nied the mot her loses her temper ,
but she may use curse words and take the phone away from him.

Bryce said he is "really nice to my sister" . Converse ly,           he
believes that he should have more time away from hi s sister .

Skylar is an 11-year old who is in the 6:h grade at San Elijo
Middle School . The child shared t hat her favorite subject is
Science and s he receives "good grades". She participates in
musical theater , she us ed to play soccer prior to current
pandemic, and she use to participate in dance in the "past".

The child conf irmed that she spends equa l time wit h both parents.
She confirmed that she would enjoy spending less time with her
brother in either home. Skylar stated she did not know what that
type of schedule would look like . She stated s he does not feel
safe around her brother at times. The child stated her brother ' s
behaviors are not new behaviors , but they have escalated since t he
parents' divorce.

The moth er has told the undersigned during t he FCS session t hat
she was concerned t hat Skylar may not feel comf ortab le speaking

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with the undersigned as she would be in the father ' s care at the
time of the schedu Jed chi ld intervie w. The undersigned explained
that the child will be asked to be in a private room with no one
within listening range d u ring the interv i e w. The mother shared
that the child states to her that she feels as if someone is
always at her bedroom door listening to her when she is on the
phone. During the c h ild interview with Skylar , the c h ild stated on
several occasions, "I think someone is listening outside the
dooru. The undersigned asked the child why she felt as if someone
was listening. She responded that she did not know, she just felt
as if someone was standing outside her door listening.

COLLATERAL INFORMATION

The undersigned contacted Marguerite Widener, LCSW, chi l dren's
therapist on     December 21,    2020 and obtained    the following
summarized information:     The undersigned called the therapist on
1 2/22/20 , 12/23/20, and 1/11/2021 and each call the undersigned
received a voicema i l message and the message "the voicemai l is
full and cannot accept any messages at this time " . As of the
writing of this report, the undersigned was unable to speak with
the c h ildren's therapist.

A screening through t he local/State CWS Agency revealed the
following summarized information:      The family has three closed
referrals since October 2019 , when they were last seen at FCS.

   1) 3/18/20 - 3/29/20: Allegations of physical abuse and emotional
      abuse to the child , Bryce, by the mother. This referral was
      not assigned for investigation a nd was evaluated out.
   2) 3/2/20-4/7/20: Allegations of physical abuse to the child ,
      Bryce,    by   the  mother.  This  allegation    was   closed  as
      unfounded. Allegation of general neglect to the child, Bryce,
      by the mother. This al l egation was closed as unfounded.
      Al legations of emotional abuse to the children , Bryce and
      Skylar ,   by the    father.  This allegation was      closed as
      unfounded.
   3) ll/4/19-11/21/19: Allegations of physical abuse to t he chi l d ,
      Bryce, by bot h parents. These allegations were c l osed as
      unfounded. Allegation of emotional abuse to both children
      with no perpetrator named. This allegation was closed as
      inconclusive. Allegation of at - risk sibling for the child ,
      Sk yl ar, with no perpetrator named. Th i s allegation was closed
      as unfounded.

REVIEW OF INFORMATION

A portion of the Court File was reviewed by the undersigned.

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 REASONS FOR RECOMMENDATION

The parents were unable to agree upon a parenting plan              for their
children.

The father is the moving party. He is proposing the child , Bryce ,
reside primarily with him and the mother's parenting time occur
Wednesday , after school until Friday . He is proposing the parents
continue to practice joint physical custody of the child , Skylar .
The mother is proposing the parents practice a joint physical
custody of the child, Bryce and the father's parenting time for
the child, Skylar, occurs every other weekend , from rriday until
Sunday.

It was apparent to the undersigned that the parents have a very
highly conflictual co-parenting relationship and both children are
exposed and greatly affected by their high conflict co - parenting.
The child, Bryce, has special needs such as high functioning
autism . Bott:. parents agreed , during the FCS conference, that they
have practiced joint physical custody of the c hildren sin c e at
least No vember 2019 . The mother asserts the child , Bryce, is
assaultive, both verbally and physically with the child, Skylar.
Bo t h c h il dre n a re ac tiv e ly att e ndin g t h erapy. The u ndersi g ne d
strongly urges both parents            to actively participate in           the
c h ildren ' s therapy as directed by the therapist and request that
the therapist conduct sibling sessions to address the concerns
that the mother has about the child ' s , Bryce ' s behavior , towards
the child, Skylar while they are in her care. Both parents are
also high urged to not expose the children to their co-parenting
conflict and work together with the children's therapist to
establish a consistent routine in both of their households for
each of the child ' s unique needs.

Based on the information gathered during the FCS conference and
acknowledging both children's stated preferences , the undersigned
is recommending no changes to the current parenting plan .

It is recommended that the parents enroll in and successfully
complete an in-person high co-parentj_ng conflict course.

It is recommended that both c h ildren continue to attend individual
therapy and both parents actively participate in the children's
therapy as directed by the therapist .

Based   on    the      aforementioned    information,         the   following
recommendations      are    respectfully    submitted        to   the   Court
consideration.


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RECOMMENDATIONS FOR THE PARENTING PLAN OF:

     Bryce Emert, DOB: 06/11/07 (Age 13 years)
     Skylar Emert, DOB: 06/06/09 (Age 11 years)

     Mother: Andrea Emert
     Father: Robert Emert


1.   LEGAL CUSTODY

     A. Andrea Emert and Robert Emert shall share joint legal
        custody , which means that Andrea Emert and Robert Emert
        shall share the right and responsibility to make decisions
        relating to t he health, education , and welfare of their
        children and consult each other regarding enrollment and
        disenrollment in school, beginning/ending mental health
        services and selection or changes of a doctor , dentist or
        other health professional.
     B. Each parent shall have access to medical and school records
        pertaining to the c hildren and may consult with any
        professionals invoived with the children.        It is each
        parent ' s responsibility   to  request   school   calendars,
        progress    reports,   report  cards    and   parent-teacher
        conferences directly from the school.
     C. Each parent may obtain emergency health care for the
        c hildren without the consent of the other parent.       Each
        parent is to notify the other parent as soon as reasonably
        possible of any illness requiring medical attention or any
        emergency involving the children .

2.    PHYSICAL CUSTODY

      A. The ch.i.ldren ' s physical custody shall be shared .
      B. Joint physical custody of the children shall be shared as
          follows:
       i)    Each   parent    sha 11  care   for   the  children during
            alternating weekends from Friday at school dismissal, or
             3:00 p.m. until Monday at 3 : 00 pm.
      ii)   The mother shall care for the children every week from
            Monday at school dismissal , or 3:00 p.m. until Wednesday
             at school dismissal, or 3:00 p .m .
     iii)    The father shall care for the children every week from
             Wednesday at school dismissal, or 3:00 p.m. until Friday
             at school dismissal , or 3:00 p.m.




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 3.    HOLIDAYS/SPECIAL DAYS/SCHOOL VACATIONS

 Special    Days/holiday schedules shall take precedence over the
 regu l ar parenting sc hedule, which shall r esume after the holiday
 is over .   Unless noted, a l l s ingle- day holidays shall be from 8 AM
 to 8 PM.     In absence of other agreement by the parents , specific
 ho lida y schedules shall be as foll ows :

HOLIDAY           TIME            EVERY YEAR   EVEN YEARS    ODD YEARS
Christmas         9 AM, 12 / 24                Mother        rath e r
Eve/Christmas     until 9 AM ,
Day               12/25
Christmas         9 AM , 12/ 25                Fath er       Mother
Day/Day after     until 6 PM ,
Christmas         12 /26
New Year ' s      Eve 6 PM -                   Mother        father
Ev e /Day         Day 6 PM
Easter Day        8 AM - 8 PM                  Father        Mot her
Moth er ' s Day   8 AM - 8 PM   Mot h er
Father ' s Day    8 AM - 8 PM   rather
July 4th          8 AM - until                 Mother        ra t he r
                  10 AM July 5
  Hallowee n      4 PM - 8 PM                  rather        Mother
  Thanksgiving    8 AM - 8 PM                  Mother        rather
  Day.
.,__
  Children's      8 AM - 8 PM ;                Fath er       Mother
  Birthdays       or i f a
                  school day
                  from 6 PM to
                8 PM
  Three- day weekends not specified in the c har t above shall be spe nt
 with the parent who would normally have that weekend and the wee kend
                    ~ ~-a 11 --~~ extended _!2y___?_'l_ _~our s. -·- -

  4.   VACATIONS/SCHOOL BREAKS

       A. Either parent ma y vacation or have exte nded time with th e
          c hildren each year for up to two weeks . The vacationing
          parent shall notify the other parent in writing of t heir
          vacation plans a minimum o f 30 days pri or to departure a nd
          provide the ot he r parent with a basic itinerary to in c lude
          dates      of  depar t ur e and  return,  d es tinations , flight
          informa t ion and telephone number s for emergency purpos es .
          Th e vacationing parent shall n ot schedule the vacation
          during the other par ent ' s s c h eduled h ol iday time with the
          c hildren , unless agreed upon in advance by both paren ts .
          Th e vacation shal l not in t errupt school attendan c e unless
          mu t ua lly agreed upo n by the parents and school personnel.
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5.   EXCHANGES/TRANSPORTATION

     A. Exchanges of the children , when they do not take place at
        schoo l /childcare shall   be   at   the  sending   parent's
        residence .
     B. The children shall be exchanged at the designated times,
        with a 15-minute grace period .    Should a longer delay be
        necessary, t he other parent shall be notified immediately
        or that parenting time shall be considered canceled.

6.   TELEPHONE/COMMUNICATION

     A. There shall be reasonable telephone contact between the
        children and the parents when in the other parent ' s care .
       The purpose of the phone call shall be to communicate with
       the children. All other business between the parents s ha ll
       be discus s ed a t another time.
     B. Email communication: The parties shall use a co-parenting
        email    system,     such   as   Our    family   Wizard    or
        TalkingParents.com for all non - emergency communication.
        The parties shall each establish a parent account , and
        enroll in the program within 21 days o f this order and
        annually     thereafter,  to   conduct   all   communications
        regarding custody or visitation matters ,        information-
        sharing matters, schedule alterations and reimbursable-
        expense matters on the website . The parties shall not
        telephone, e - mail or text each other regarding is sues
        related to the child except in an unanticipated or
        emergency situation where response is required in less than
        24 hours.     Each party shall respond to the other party ' s
        request or notification within 48 hours of the posting , if
        a response is either requested or appropriate . Each party
        shall al l ow "professional access" to any licensed legal or
        mental health professional .

7.   CO·NDUCT/ SAFETY

     A. Neither parent shall make negative statements about the
        other in the presence or hearing of the children or
        question the children about the other parent. The parents
        s hall commL:nicate directly with each other in matters
        concerning the children and shall not use the children as a
        messenger between them . The children shall not be exposed
        to court papers or disputes between the parents, and each
        parent shall make every possible effort to ensure that
        other people comply wj th this order.



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8.   NOTIFICATION

     A. When either parent wishes to travel with the children
         outside the County of San Diego for overnight or longer
         during their parenting time, the ot h er parent must be given
         24 hours ' prior notice of date and time , destination and an
         emergency telep hone number.
     B. Each parent s hall always keep the ot h er informed of his/her
         address and telep hone numbers and shall notify the other
         parent wit h in 24 hours of any changes . Neither parent may
         use    such   information   for   the  purpose of   harassing,
         a n noying, disturbing t he peace of the other or invading the
         other's privacy.
     C. If the children participate in an AM/PM program, ca mp or
         cared for routinely by a childcare provider, the parents
         shall     keep one   another    informed  of  those programs ,
         addresses and telep h one numbers.
     D. Should eit h er pa rent require childcare for more than e i ght
         hours or overnight while the children are in his/her
         physical care , the other parent shall h ave first option to
         provide such care.
     E . Neither parent shall schedule activities for the children
         during the other parent ' s scheduled parenting time without
         the other parent ' s prior agreement.
     F . At least 24 h ours ' notice of any schedule change shall be
         given to the other parent . The parent requesting the change
         shall be responsible for any additional c h ild care that
         results from the change .
     G. Neither parent shall move the residence of the c hildren out
         of San Diego County without giving the other parent a 45-
         day advance written notice and obtaining the other parent's
         written permission prior to the move or an order of the
         Court granting the move.

9.   CLASSES/PROGRAMS

     A. Robert    Emert  and Andrea     Emert     s hall    enroll  in  and
        successfully complete an       in - person    high conflict     co -
        parenting    course .  The  course     sha 11    be   completed  by
        4/1/2021.
     B. The    children  shall   participate     in   counseling    with a
        licensed mental health prac titioner until r e leased by t he
        therapist.    The parents shall cooperate and participate in
        the children's therapy at the discretion of the therapist .
        Issues to be addressed include: exposure to high level of
        co - parenting conflict, sibling relationship , and any other
        mental health issu es that arise .


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      C. Possib l e resources i nc l ude : pri vate insu rance ; ca ll 211
         fro m an y pho ne ; or a Progra m Reso urce List ma y be obtained
         at Fami ly Court Services or on t he San Diego Super i or Court
         websi t e www . sdcourt . c ~ . qcv.




                                             R
                                             e;~:«iWw
                                             t     sa Boswe ll, MSW
                                                 Famil y Co urt Counselor
                                                 619- 844 - 2939
Cc:   Andrea Eme r t , Mot her
      Robert Emert , Fat her
      David Sc hulman , At t orney




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Exhibit B

50/50 offers
                                                                                                 439

Emert, Bryce

Rob Emert < robemert@msn.com >
Mon 5/24/2021 9:04 PM
To: Matthew Cord, Esq. <MCord@apjohnsonesq.com >; Dave Schulman <dschulman@msmfamilylaw.com >
Cc: Catie Young <Catie@GYLFAMILYLAW.COM >; Linda Hansen <lhansen@msmfamilylaw.com>; Sarah Bear
<sbear@msmfamilylaw.com >; Correne Day <Correne@GYLFAMILYLAW.COM >


iJ 1 attachments (3 MB)
DISQUALIFICATION OF COMMISSIONER RATEKIN 052021.pdf;


Mr. Cord,

Upon Bryce returning to my home after a stay with his mom, he told me the following and that the
whole weekend with his mom was a horrible fight. It is heartbreaking for me to hear this stuff and that
Bryce is forced to have to put up with it.


    1. His mom spit in his face
    2. His mom threw popcorn in his face.
    3. His mom grabbed him by the hair.
    4. His mom was physically rough with him.
    5. And, most alarming, that when she was putting him to bed last night that she was crying to him
       and said he did not have to live with her anymore and that he would not have a room at her
       house anymore and she was going to take his bed apart and he would not have a bed at her home
       anymore.

I am sure you will find a way to say it is my or Bryce's fault somehow. Bryce does not have these kinds of
problems with anyone else and I have been telling you for a long while now that Andrea has always had
a strained relationship with her son. It is not my fault. While Andrea and I have traded insults over the
years I would never want Bryce to be without his mother and Bryce knows this very well. Andrea just
has issues with a lot and she really is irrationally resentful of me where she wants to burn me more than
help our kids. When I stick up for his mom in our discussions, Bryce gets upset with me because Bryce
does have many valid concerns on how his mother treats him.

Without me being involved with the kids therapy is a disservice to the kids because you have created a
stacked deck. Andrea can say whatever she wants and waive that nonsense court order that says I
should not have contact with the one therapist while "the pile on" said it was all therapists. That would
create a bias in any reasonable persons/therapists mind. I don't really care that much unless it is a
disservice to the kids which it clearly is. And, I highly doubt that Peggy would even agree with how you
used her to give Andrea a "tie breaking" vote, removing me from "all" kids therapies, and me getting
admonished by the court for involving the kids in divorce related matters when she knows we have both
messed up pretty bad in many respects. Whatever I have discussed with the kids in the past was what I
would call serious damage control from what Andrea had told them about me or these divorce
proceedings. I will get more into that at the next trial day.

Andrea has played everyone for suckers and I guess I am the biggest sucker for doing exactly what she
knew I would by calling out everyone in an annoying bombastic way when advocating for my kids. If you
really have Bryce's best interests why did you not reach out to his case manager who really is an expert
in her field, knows Bryce well and has ZERO to buddy up to me. You spoke to people friendly with
                                                                                                     0
Andrea and who believed Andrea's nonsense with her bogus TRO andrea waived around at the kifil
school after she was arrested.

Last Thursday I filed a motion to disqualify commissioner Ratekin from these proceedings. With the
overwhelming data that will show up in the transcripts, I would be surprise if Judge Wood does not take
the case over but nothing really surprises me anymore in divorce court. I attached it just in case you
have not seen it yet.

I am right in most regards and I have the truth on my side. It is only a matter of time before the truth
comes out and while that may be at the next trial date or an appeal, it will happen eventually. Like I
have been saying since day one, I am open to a mediation where the interests of the children would
come first and then have that mediator make the finding binding. I think I have put that out there in
emails at least 20x plus in the last two years. Given the scenario, why would anyone not want to do
that? If I was wrong with my opinions on anything, I would have found out soon enough when the
mediator reviewed the facts (and not fancy/questionable divorce moves in court) and made their
findings to the parties and that which would have been binding.

Rob Emert
                                                                                                    432

Fw: progress, who would have thought....
Rob Emert < robemert@msn.com >
Mon 5/24/2021 8:54 AM
To: Andrea Emert <aemert@carlsbadusd.net >
Andrea,

It does not get anymore basic than this. Your attorney draws up the stipulation and most times the
Judge says great and adds the stipulation to the orders. If he does not do this within 24 hours I know
you guys are just jerking me around and I will simply do what I feel is in the kids best interests. I spoke
to many about this including the people in the high conflict class. This is the best and easiest way to go.

50/50

If there is a dispute regarding anything that can't be resolved by Andrea or I going forward, we would
agree to a child custody advisor/coordinator to make the decision and that decision would be binding
unless both Andrea and I disagreed with the advisor and came to a different agreed solution. This child
custody advisor/ coordinator will be a third party agreed to by both parties. This custody advisor does
not need to be picked immediately but both parties do agree they will agree to choose one prior to
submitting this stipulation to the court.

Rob




From: Rob Emert <robemert@msn.com>
Sent: Tuesday, May 18, 202 1 2:40 PM
To: Sarah Bear <sbear@msmfamilylaw.com>
Cc: Dave Schulman <dschulman@msmfamilylaw.com>; Kelley Castillo <kcastillo@msmfa milylaw.com>; Caroline
Taylor <ctaylor@msmfamilylaw.com>; Correne@GYLFAMILYLAW.COM; Linda Hansen
<lhansen@msmfamilylaw.com>; Andrea Emert <aeme rt@carlsbadusd.net>; Matthew Cord, Esq.
<MCord@apjohnsonesq.com>; Catie Young <Catie@GYLFAMILYLAW.COM>
Subject: Re: progress, who would have thought.. ..



Ms. Bear,

Here is an offer of settlement regarding custody:

50/50

If there is a dispute regarding anything that can't be resolved by Andrea or I going forward, we would
agree to a child custody advisor/coordinator to make the decision and that decision would be binding
unless both Andrea and I disagreed with the advisor and came to a different agreed solution. This child
custody advisor/ coordinator will be a third party agreed to by both parties. This custody advisor does
not need to be picked immediately but both parties do agree they will agree to choose one prior to
submitting this stipulation to the court.
I don't know why the Commissioner acted like this could not be done. I have been told by many if¾
done all the time. I think the commissioner was only saying that she could not order it which I
understand. However, if the parties (Andrea and I )simply agree to it and submit it as an agreed
stipulation, my understanding is that most judges would simply say great and add it to the orders. My
terminology may be off but I am sure everyone knows what I mean.



If Andrea is agreeable to this, it would be great to be able to move on so please run it past Andrea and
send over the stipulation so this family can heal and move on.



Rob Emert




From: Rob Emert <robemert@msn.com>
Sent: Friday, May 7, 2021 3:40 PM
To: Sarah Bear <~msmfamjlvlaw.com>; Andrea Emert <aemert@carlsbadusd.net>; Catie Young
<Catie@GYLFAMILYLAWCOM>; Matthew Cord, Esq.<MCord@_gpjohnsonesq.mm>
Cc: Dave Schulman <dschulman@msmfamilvlaw,com>; Kelley Castillo <kcastiUo@msmfamilvlaw.com>; caroline
Taylor <my.l.Qr..@>msmfamilylaw,com>: Correoe@GYLFAMILYLAW.COM<Correoe@gyJfamiMaw.com>; Linda
Hansen <lhanseo@msmfamjMaw.com>
Subject: Re: progress, who would have thought.. ..

Ms. Bear,

I have offered from the beginning of these divorce proceedings to do a binding mediation. The offer I
have put fourth is very simple and your client has indicated she is pretty good with it.


    1. 50/50 custody



    2. If there is a dispute regarding anything that can't be resolved by Andrea or I going forward, we
      would agree to a child custody advisor/coordinator to make the decision and that decision would
      be binding unless both Andrea and I disagreed with the advisor and came to a different agreed
      solution . This child custody advisor/ coordinator will be a third party agreed to by both parties.
      This custody advisor does not need to be picked by Friday (05/07/21) but both parties do agree
      they will agree to choose one.




    3. Andrea said she wants to keep the 15 min call thing which is fine by me. Andrea and I discussed
       making texting not included and I would add that multiple calls is fine as long as the aggregate
       does not go over 15 min as things come up during the day and such a restriction would not be in
       the kids best interests.




    4. Regarding the schedule, I really don't care how Andrea wants to set up the schedule and she can
      change it however she wants whenever she wants and if there is an issue, we talk to the custody
      advisor/ coordinator.
    5. I don't care if I am or am not included with the therapists. My only concern was how Peggy the the13t,ist
       and Mr. Cord never reached out to the main point of contact for Bryce Emert as indicated by the principal
       of the School and now the human resources director of San Marcos Unified who is Trish Flemming. When
       it was suggested and then ordered for me to be taken out of the equation when I was trying to get as many
       evaluations as possible of our children for the court to consider is alarming. Peggy, the therapist does not
       know Bryce Emert at all. Mr. Cord does not know Bryce Emert at all. Both of these individuals did not
       reach out to the main point of contact for Bryce Emert as indicated by the principal of the school when
       forming and giving life changing opinions for Bryce Emert. THIS IS MY MAIN CONCERN WITH THE
       THERAPIST SITUAITON AS IT WOULD CLEARY AND INEQUITABLY LET THE RIGHTS OF BRYCE EMERT, A
       MINOR ON THE AUTISM SPECTRUM GET RUN OVER WITH ZERO OVERSIGHT AND ACCOUNTABILTY and
       leaving out the opinions of people who have known Bryce Emert for years. Simply outrageous and most
       definitely not in the best interest of Bryce Emert. If this issue is not resolved, Bryce will be called as a
       witness. If it is denied, I believe he will be heard in an appeal. To suggest that bringing Bryce in as a
       witness is harming him somehow is absurd when considering the horrendous two years of interrogations
       by attorneys, CPS, FCS, police, therapists, and school counselors. Bryce has indicated to me constantly how
       upsetting all of that is to him and cry's to me all the time begging for me to make all these people go away.
       The only reason why someone would not want Bryce to be heard at this point is because they simply don't
       want to hear the truth . Perhaps like not calling Bryce's case manager that knows him better than anybody
       in these divorce proceedings other than his parents. Yeah, it sure makes sense to have all these strangers
       interrogate Bryce to the point he is crying and begging his dad to make them go away but not let the dad
       ask him a few questions so Bryce himself at almost 14 is able to clarify his opinions/wants/needs to the
       court.



If Andrea does not sign off on something this simple and straight forward it just tells me to expect more
shenanigans that I have come to expect over the last two years and I will just have to spend more time
and money over the weekend preparing which is something I was hoping to finally be rid of.



If Andrea is serious, her attorney needs to write this simple agreement up and let everyone sign off on
it. If there are unforeseen issues, we end up back in court which I know is where Andrea and I don't
want to be.



I believe Andrea is over 100k in fees; I was close to SOk from memory, and we now have a big bill adding
up from minor council. This is not acceptable and we clearly can't afford it.



Please draw up the simple agreement that I believe Andrea is fine with and present it for everyone to
sign off on it.



Thanks



Rob Emert
